        Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 1 of 47




                        EXPERT WITNESS REPORT
                 DR. RICHISA HAMILTON, MD, PHD, MSPH
                           RICHISAMD, PLLC

                                         June 18, 2020

       I am Richisa L. S. Johnson Hamilton, MD, PhD, MSPH. I am a medical doctor currently

licensed to practice medicine in the States of Georgia and Texas. That time period includes

October 2013, which is the subject of my review and opinions. I attended undergraduate school

at Jackson State University and graduate school at Meharry Medical College, where I earned my

Master’s of Science in Public Health with a concentration in Health Services Administration. I

received my Medical Degree in 2008 from Meharry Medical College. I completed my residency

in Emergency Medicine at the University of Texas Southwestern in 2011 and was Board

Certified by the American Board of Emergency Medicine in 2012. I presently work in the states

of Texas and Georgia as a licensed medical doctor. I am over the age of eighteen (18) years,

suffer from no legal disabilities, and provide this report based upon my own personal knowledge

and beliefs. My Curriculum Vitae is attached hereto as Exhibit “A.” My case participation is

attached hereto as Exhibit “E.”

       The subject of my review involves the complications incurred by Mr. Damond Lee

Williams, a patient at the Washington, D. C. Veterans Affair (VA) Clinic, October 30, 2013.

During this time period, and prior to it, I was regularly engaged in the clinical practice of

emergency medicine for adults like Mr. Williams. For the purpose of this report, I have

reviewed the following records:

       •   Medical Records from the Washington, D. C. VA dated October 30, 2013




                                                  1
        Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 2 of 47




       •   Medical Records from Providence Medford Medical Center in Everett, Washington

           dated November 3, 2013

       •   Medical Records from Harborview Medical Center in Seattle, Washington dated

           November 3 to 14, 2013

       On October 30, 2013 Mr. Williams presented to the D. C. VA Clinic with the chief

complaint of “pain and swelling of neck jaw from an infected right lower molar for 4 days,”

noted by the clinic’s triage nurse. He was an otherwise, healthy, and physically active 38-year-

old male per medical records. His vital signs were noted within normal limits. Mr. Williams was

subsequently seen and examined by Margerite McGarrah, Nurse Practioner (N.P.).

       The medical records from this standpoint onward were grossly incomplete. N. P.

McGarrah notes the chief complaint and remarks that Mr. Williams is status post root canal two

weeks ago. Her History of Present Illness (HPI) reports that, “the patient has history of

antibiotics for dental issues; he will see his dentist in 6 days; and the dentist refused to order

antibiotics without seeing him.” There was no mention of a Review of Systems, Past Medical

History, Family History. N. P. McGarrah skips to the Physical Exam that was abbreviated by the

following: “Neck: right side 1+ puffiness; cannot appreciate A/C lymph nodes; puffiness extends

around to thyroids. Dentition: Right lower molar. No gum edema, no erythema, no pus. NO

lesions.” These were the only documented components of her exam. At this point, N. P.

McGarrah renews the penicillin order and further notes “with some misgivings, in light of past

history and concern for antibiotic resistance.” Mr. Williams was then sent home with a

prescription for penicillin and told to follow up with his dentist.

       Mr. Williams flew from the D. C. area to Washington State. He presented to Providence

Medical Center in Everett, Washington on November 3, 2013. His chief complaint was dental




                                                   2
        Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 3 of 47




pain and foot swelling for 5 days. There, he told the ER physician that he noticed a red area with

blistering of his left foot that has gradually expanded to involve his entire lower extremity up to

the knee with some redness extending to the left thigh. This notes states, “he was seen on

Tuesday at the VA for that and a dental problem.” The History of Present Illness further says

that Mr. Williams was started on amoxicillin and sent home. Mr. William’s presentation was

depicted in the Physical Exam as, “Integument: left lower extremity has bullous lesions to the

foot with loss of skin. He has scattered edema with blisters to the lower leg. He has intense

erythema to the entire lower leg up to the knee with spreading redness up the medial aspect of

the thigh. Lymphatic: left groin lymphadenopathy.” Labs revealed an elevated white blood cell

count of 43,000, elevated creatinine, and abnormal liver function tests.

       Mr. Williams was subsequently admitted to the hospital with the diagnosis of “severe left

lower extremity cellulitis and renal insufficiency,” as well as, evaluation for necrotizing fasciitis.

The hospitalist’s HPI also notes that Mr. Williams “initially went to the VA clinic in

Washington, D. C. for right facial swelling and left foot infection with blistering on the foot.”

She adds that Mr. Williams “participated in a ‘Mud Run’10 days ago with some skin abrasions

on both feet and a toe-nail injury on the left foot.” Imaging revealed severe cellulitis around the

ankle with possible abscess formation. He was started on broad-spectrum antibiotics and an

Infectious Disease Specialist was consulted.

       The Infection Disease specialist also sites in his note that Mr. Williams said he went to

the VA in D. C. and was given a prescription that helped only with his face but not his leg. This

physician included photographs of Mr. Williams’s left lower extremity. Given the severity of his

infection, the infectious disease specialist recommended that orthopedic surgery or general

surgery be consulted. An orthopedic surgeon, on-call at Providence Hospital, stated he did not




                                                  3
       Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 4 of 47




feel comfortable operating on Mr. Williams given his severe condition. Mr. Williams was then

transferred to Harborview Medical Center in Seattle, Washington.

       The emergency medicine physician at Harborview, upon transfer, also states in his note

that Mr. Williams sought medical attention for his left foot pain and swelling but was only

treated for his dental problem. Mr. Williams underwent a surgical procedure to incise and drain

his left lower extremity of infection. He was placed on 4 different types on antibiotics. Mr.

Williams eventually improved to a point where he could be discharged, but has since suffered

detrimental consequences from this ordeal.

       Based on my experience and clinical expertise, Nurse Practitioner Margerite McGarrah

failed to provide what is reasonable as the standard of care to Mr. Damond Lee Williams, at the

Washington, D. C. Veterans Affair (VA) Clinic, October 30, 2013. N. P. McGarrah failed to

provide an accurate and comprehensive History and Physical Examination (H&P). The H & P is

imperative in treating patients, such as Mr. Williams. According to Goldberg (2018), “The

written History and Physical (H&P) serves several purposes:

   •   It is an important reference document that provides concise information about a patient's

       history and exam findings at the time of admission.

   •   It outlines a plan for addressing the issues which prompted the hospitalization. This

       information should be presented in a logical fashion that prominently features all of the

       data that’s immediately relevant to the patient's condition.

   •   It is a means of communicating information to all providers who are involved in the care

       of a particular patient.

   •   It allows students and house staff an opportunity to demonstrate their ability to

       accumulate historical and examination-based information, make use of their medical fund



                                                 4
        Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 5 of 47




       of knowledge, and derive a logical plan of attack. See article entitled, “Practical Guide to

       Clinical Medicine: Write Ups,” attached hereto as Exhibit “B.”

   N. P. McGarrah did not include both of his chief complaints, nor did she provide a full

physical examination. “The primary purpose of the documentation is to provide the physician or

provider with a record of a patient's history and other details that he or she might not otherwise

remember between visits. The patient's narrative gives important clues as to the diagnosis and the

patient's perspective.” See article entitled, “Health Law: The Importance of Standard of Care

and Documentation” attached hereto as Exhibit “C.”

       Mr. Williams presented to the VA with a swollen extremity. It was evident that early

signs of cellulitis were present on October 30, 2013 when Mr. Williams presented to the VA

clinic. “The differential diagnosis of a swollen extremity includes a wide range of diseases from

the benign to the potentially life threatening. It is crucial to consider all of the dangerous causes

of a swollen extremity, in order to prioritize diagnostic tests and initiate appropriate treatments.”

See article entitled, “The Swollen Extremity: A Systematic Evaluation of a Common Complaint”

attached hereto as Exhibit “D.” Early and aggressive treatment and management are vital to

pathologies, such as that experienced by Mr. Williams.

       The VA serves as a primary place of medical treatment for veterans, such as Mr.

Williams. As a primary clinician, N. P. McGarrah has a responsibility to appropriately examine

and manage patients within the standard of care. At a minimum, it involves thorough history

taking and physical examination of all complaints exhibited by patients. It also includes

referring patients, such as Mr. Williams, to higher levels of care when necessary. Had N. P.

McGarrah fully assessed Mr. Williams, she would have then been prompted to send him to the

nearest emergency medical facility for further care.




                                                  5
       Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 6 of 47




       Specifically, a complete HPI would have included that fact that Mr. Williams had

recently been in a strenuous, physical outdoors competition. He was suffering from a painful,

swollen left foot. Upon physical exam, N. P. McGarrah should have removed whatever clothing

to expose his entire left lower extremity. Gross physical examination would have likely revealed

blistering, redness, warmth, and swelling. The extent of these signs should have been well-

documented, such as whether it included just the foot or whether it extended above the ankle.

Peripheral pulses should have been documented. The findings should have then helped form a

broad differential diagnosis with concern for cellulitis at the top of list. Other limb-threatening

or potentially fatally diagnoses may include: deep venous thrombosis, sepsis, osteomyelitis,

abscess formation, fracture, etc.

       These diagnoses require lab work and imaging to be ruled in or out. A complete blood

count (CBC) is very useful in the evaluation of infectious or inflammatory processes. It can also

show some insight into bleeding mechanisms, such as whether Mr. Williams was anemic from

potential blood loss or whether his platelet count was abnormal. A complete metabolic panel

(CMP) shows whether electrolyte abnormalities exist. Even though Mr. Williams had no history

of diabetes or kidney disease, this test would have made sure he wasn’t diabetic, in kidney

failure, or dehydrated, given the fact of his recent competition. These implications can have very

deleterious effects on treatment outcome and prognosis. A CMP also includes liver function

tests that can give clues as to whether infectious or inflammatory processes exist, hydration

status, and how well the liver is functioning.

       Simple x-rays of the foot can indicate the presence of fractures or any type of bony

erosions, which both contribute to treatment management and prognosis. Osteomyelitis may be

seen with bony erosions. With the presence of open wounds on the foot, fractures are considered




                                                  6
       Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 7 of 47




to be “open” indicating the need for immediate orthopedic intervention. MRIs are definitive and

may have been warranted at the time Mr. Williams presented to the VA on October 30, 2013.

       Moreover, a vascular ultrasound will look for the presence of venous thrombosis and, in

turn, whether blood-thinning medications need to be started. Bleeding times and inflammatory

markers, such as sedimentation rate and C-reactive protein would also have been helpful to

address the differential diagnosis of a swollen extremity. Lastly, the fluid from any open wounds

should be cultured to determine exactly what type of bacteria exist to direct the appropriate

antibiotic treatment. All of the above mentioned represent the standard of care that was woefully

deviated from by N. P. McGarrah.

       Had N. P. McGarrah properly examined Mr. Williams, that is reasonable and within the

standard of care, she would have made the diagnosis of cellulitis. This diagnosis would have

prompted her to further evaluate the cellulitis and offer appropriate treatment and management to

Mr. Williams. Mr. Williams sought out medical attention for a dental infection, as well as pain

and swelling from his left foot. N.P. McGarrah neglected a serious medical problem leading to

consequences from severe cellulitis of Mr. William’s left lower extremity. Had it not been for

N. P. McGarrah’s deviation from the aforementioned delineated standards of care, Mr. Williams

would not have suffered from painful surgical debridement of his left lower extremity, a

complicated hospital course, the life-altering disability preventing him from pursuing his career

as a fitness trainer, among other detrimental consequences he has incurred.



       ________________________________

       Dr. Richisa Hamilton, MD, PhD, MSPH

       June 18, 2020




                                                 7
                Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 8 of 47
Exhibit A

                                                Curriculum Vitae
                    Richisa Lessica Samelajoy Johnson Hamilton, MD, PhD, MSPH
                                  601-572-9909, richisamd@aol.com
                            2178 Waldrop Road, Marietta, Georgia 30066

        PROFESSIONAL OBJECTIVE:

        To pursue a career in emergency medicine and provide quality health care to those in need.


        ACADEMIC PREPARATION:

        01/2017 – 12/2018       Wellington Institute, Jackson, Mississippi, Doctor of Philosophy in Thanatology &
                                Clinical Pastoral Counseling
        08/2003-05/2008         Meharry Medical College, School of Medicine, Nashville, Tennessee
                                Doctorate of Medicine
        08/2001-05/2003         Meharry Medical College, School of Graduate Studies and Research, Nashville,
                                Tennessee, Masters of Science in Public Health
        05/1998-05/2001         Jackson State University, School of Liberal Arts, Jackson, Mississippi
                                Bachelors of Science in Psychology


        EMPLOYMENT/EXPERIENCE:


        10/2018-present         Emergency Medicine Physician, Independent Contractor, ApolloMD, WellStar
                                Kennestone Hospital, Marietta, Georgia
        10/2018-present         Emergency Medicine Physician, Independent Contractor, ApolloMD, WellStar Cobb
                                Hospital, Austell, Georgia
        10/2018-present         Emergency Medicine Physician, Independent Contractor, ApolloMD, WellStar Douglas
                                Hospital, Douglasville, Georgia
        10/2018-present         Emergency Medicine Physician, Independent Contractor, ApolloMD, WellStar Paulding
                                Hospital, Hiram, Georgia
        08/2018-present         Adjunct Professor, Jackson State University, Jackson, Mississippi
        08/2018-present         Emergency Medicine Physician, Independent Contractor, TeamHealth, Piedmont Henry
                                Hospital, Stockbridge, Georgia
        05/2018-present         Emergency Medicine Physician, Independent Contractor, Flynt Medical Staffing, Ward
                                Memorial Hospital, Monahans, Texas
        05/2018-present         Emergency Medicine Physician, Independent Contractor, Schumacher, Upson Regional
                                Hospital, Thomaston, Georgia
        04/2018-present         Emergency Medicine Physician, Independent Contractor, Flynt Medical Staffing, Plains
                                Memorial Hospital, Dimmitt, Texas
        02/2018-present         Peer Reviewer, Independent Contractor, MES Peer Review Services, Norwood
                                Massachusetts
        12/2017-present         Emergency Medicine Physician, Independent Contractor, Emcare, Eastside Medical
                                Center, Snellville, Georgia
        02/2017-present         President, FlyCare, P.C., Marietta, Georgia
        12/2016-01/2018         Emergency Medicine Physician, Independent Contractor, Emcare, Cartersville Medical
                                Center, Cartersville, Georgia
        07/2016-present         Expert Witness, RichisaMD, PLLC, Marietta, Georgia
        03/2013-11/2016         Emergency Medicine Physician, Independent Contractor, ApolloMD, WellStar Douglas
                                Hospital, Douglasville, Georgia
        03/2013-11/2016         Emergency Medicine Physician, Independent Contractor, ApolloMD, WellStar
                                Kennestone Hospital, Kennesaw, Georgia
        03/2013-11/2016         Emergency Medicine Physician, Independent Contractor, ApolloMD, WellStar Paulding
                                Hospital, Hiram, Georgia
        03/2013-11/2016         Emergency Medicine Physician, Independent Contractor, ApolloMD, WellStar Windy
                                Hill Hospital, Marietta, Georgia
       Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 9 of 47


Richisa L. S. Johnson Hamilton, MD, MSPH
Page Two

09/2012-present       Emergency Medicine Physician, Independent Contractor, South Fulton Emergency
                      Physcians, LLC, East Point, Georgia
07/2012-09/2016       Emergency Medicine Physician, Independent Contractor, Georgia Emergency Group,
                      LLC, Griffin, Georgia
01/2012-present       Emergency Medicine Physician, EMCARE, Dallas, Texas
10/2011-present       Independent Contractor, RichisaMD, PLLC, Dallas Texas
03/2011-12/2011       Emergency Medicine Physician, Independent Contractor, Physicians Emergency Care
                      Associated, Dallas Texas
10/2010-06/2011       Physician, Care Now, Coppell, Texas
07/2010-present       Physician on Call, Grief Camp, Wellington Institute, Jackson, Mississippi
06/2008-06/2011       Resident Physician, Emergency Medicine, University of Texas Southwestern, Dallas,
                      Texas
03/2006-present       Editor and Consultant, Johnson Total Services Multieducational Publishers, Inc.,
                      Jackson, Mississippi
08/2006-05/2008       Teacher’s Assistant, Gross Anatomy, Meharry Medical College, Nashville, Tennesse
08/2005-05/2006       Emergency Medicine Patient Attendant, Meharry Medical College and Metropolitan
                      Nashville General Hospital, Nashville, Tennessee
05/2004-present       Sole proprietor, EduCares Psychological Associates, Nashville, Tennessee
06/2004               Centers of Excellence Primary Care Preceptorship Program Participant, Meharry
                      Medical College, Nashville, Tennessee
08/2004-05/2005       Teacher’s Assistant, Gross Anatomy, Meharry Medical College, Nashville, Tennessee
08/2002-08/2003       Research Assistant for the Immigrant Community Assessment Project, Vanderbilt
                      University, Nashville, Tennessee
08/2002-06/2003       Environmental Protection Agency Minority Fellow, Meharry Medical College, Nashville,
                      Tennessee
06/2002-08/2002       Health Career Opportunities Program Mentor, Meharry Medical College, Nashville,
                      Tennessee
01/2001-07/2001       Substitute Teacher, Jackson Public Schools, Jackson, Mississippi
06/2000-08/2000       Summer Program Internship in Biostatistics, School of Public Health, Harvard
                      University, Boston, Massachusetts
08/1999-05/2001       Research Trainee, National Institute of Mental Health - Career Opportunities in
                      Research (NIMH-COR) Honors Undergraduate Research Training Program, Jackson
                      State University, Jackson, Mississippi
01/1999-present       Director of Resident Placement; Christian Care Assisted Living Center, Canton,
                      Mississippi


PRESENTATIONS/CONFERENCES/WORKSHOPS:

2018          “Beyond Grief Counseling,” Mississippi Trauma Informed Care Conference, Jackson, Mississippi
2017          “38th Annual Current Concepts in Emergency Care,” Emergencies in Medicine, Maui, Hawaii
2015          “Reimbursement & Coding,” American College of Emergency Physicians, Las Vegas, Nevada
2012          “Emergency Medicine Oral Board Review Course,” DOCStar Educational, Inc., Miami, Florida
2010          “Annual Meeting and Conference,” Texas College of Emergency Physicians, Plano, Texas
2010          “Abdominal Pain,” Case Conference, University of Texas Southwestern, Dallas, Texas
2009          “Hey Doc, What About My Cough,” Literature Review Intern Conference, University of Texas
              Southwestern, Dallas, Texas
2009          “The Brittle Diabetic,” Follow-Up Conference, University of Texas Southwestern, Dallas, Texas
2008          “Coprine,” Toxicology Conference, University of Texas Southwestern, Dallas, Texas
2006          “Annual Convention and Scientific Assembly,” National Medical Association, Dallas, Texas
2006          “Regional Meeting,” Tennessee Chapter of the American College of Physicians, Nashville,
              Tennessee
2004          “Annual Meeting,” Association of American Medical Colleges, Boston, Massachusetts
2002          Captain of the Meharry Medical College Team, National Association of Healthcare Services
              Executives Public Health Case Competition, Miami, Florida
2001          “Geriatric College,” Meharry Medical College: Consortium Center on Aging, Nashville,
              Tennessee
       Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 10 of 47


Richisa L. S. Johnson Hamilton, MD, MSPH
Page Three


2001            “Assessing Helpful & Unhelpful Comments and Comfort in Grief Situation,” NIMH-COR Spring
                Research Colloquium, Jackson State University, Jackson, Mississippi
2001            “Assessing Comfort in Grief Situations,” Southeastern Psychological Association Conference,
                Atlanta, Georgia
2000           “Helpful Comments in Grief Situations,” National NIMH-COR Honors Colloquium,
                Washington, D.C.
2000            Diversity Workshop: Researching Social Inequalities in Health, Harvard University School of
                Public Health, Boston, Massachusetts
2000            Introduction to STATA and SAS Statistical Analysis Programs, Harvard University School of
                Public Health, Boston, Massachusetts
2000            Introduction to Biostatistics, Harvard University School of Public Health, Boston,
                Massachusetts
2000            NIMH-COR Spring Research Colloquium, Jackson State University, Jackson,
                Mississippi
2000            Mississippi Academy of Sciences Convention, Biloxi, Mississippi
2000            Southeastern Psychological Association Conference, New Orleans
1999            National NIMH-COR Colloquium, Albuquerque, New Mexico


CERTIFICATIONS/LICENSES:

2018-present   Advanced Trauma Life Support, Chicago, Illinois
2018-present   Instructor, Bleeding Control Basics, Chicago Illinois
2018-present   Certified Specialist, Pastoral Thanatology, American Academy of Grief Counseling
2012-present   Diplomate of the American Board of Emergency Medicine
2012-present   Physician, Georgia Composite Medical Board, Atlanta, Georgia
2012-present   Advanced Cardiac Life Support, Griffin, Georgia
2010-present   Basic Life Support, Care Now, Coppell, Texas
2010-present   Physician, Texas Medical Board, Austin, Texas
2010-present   Health Care Provider, Pediatric and Adult Life Support, Children’s Medical Center, Dallas,
               Texas
2004-2007      Health Care Provider, CPR and AED, American Heart Association and Volunteer State
               Community College
2006-present   Advanced Cardiac Life Support Provider, Volunteer State Community College, Meharry Medical
               College, Nashville, Tennessee
2006-present   Basic Trauma Life Support I, Volunteer State Community College, Meharry Medical College,
               Nashville, Tennessee
2006-present   Basic Trauma Life Support II, Volunteer State Community College, Meharry Medical College,
               Nashville, Tennessee
2001           Geriatrics; Meharry Medical College: Consortium Center on Aging, Nashville, Tennessee


RESEARCH AND PUBLICATIONS:


2018           “Physician’s Experiences with Death & Dying in the Emergency Department: A Study of How
               Emergency Medicine Doctors Deal with Patients and Their Families Before and After Death,”
               Dissertation, Wellington Institute, Jackson, Mississippi
2011           “Rural Emergency Medicine,” University of Texas Southwestern Emergency Medicine Residency
               Program, Dallas, Texas
2005           “Grief Counseling Certification Program,” Wellington Institute, Jackson, Mississippi,
               Dr. Gladys Johnson (Helped write the program grant and certification program
               publication)
2004           “Environmental Health Education Programs in the Public School System,”
               Environmental Protection Agency, Meharry Medical College, Dr. Green Ekadi
       Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 11 of 47


Richisa L. S. Johnson Hamilton, MD, MSPH
Page Four


2004           “Project Nobesity: Attidunal Barriers to Healthy Weight Attainment and Management,” School
               of Rehabilitation Counseling, Jackson State University, Dr. Gladys Johnson
2003           “Immigrant Community Assessment,” Vanderbilt University, Metropolitan Government of
               Nashville and Davidson County, Tennessee, Dr. Daniel Cornfield
2002-2003      “Improving Compliance at Christian Care Assisted Living Center,” Environmental
               Protection Agency, Meharry Medical College, Dr. Green Ekadi
2001           Handbook of Medical Information, School of Rehabilitation Counseling, Jackson State
               University, Dr. Gladys Johnson
2001           “Developing HIV/AIDS Prevention Curriculum with Effective Instructional Strategies for
               Adolescents with Mild Mental Retardation,” TEACHING Exceptional Children, Volume 22,
               Number 6, Dr. Gladys Johnson, Dr. Celestine Jefferson
2001           “Sun Protection Behaviors in Blacks and Whites,” Journal of the Mississippi Academy of
               Sciences, Volume 46, Number 1, Dr. Louise Ryan, Dr. Pamela Banks
2001           “A Comparison of Helpful and Unhelpful Comments for Bereaved and Non-Bereaved
               Individuals,” Journal of the Mississippi Academy of Sciences, Volume 46, Number 1, Dr. Gladys
               Johnson, Dr. Celestine Jefferson
2000           “HIV and AIDS Prevention for African American Youth with Mental Retardation,” The Negro
               College Fund Newsletter, Dr. Gladys Johnson, Dr. Celestine Jefferson
2000           “Racial Disparities in Skin Cancer (Melanoma),” Harvard University School of Public Health,
               Dr. Louise Ryan, Dr. Bruce Kennedy, Dr. Kimberly Lochner
1999           “Peer Education to Educate Adolescents with Special Learning Needs About HIV/AIDS
               Prevention,” Submitted to The Journal of Exceptional Education, Dr. Gladys Johnson
1999           “Helpful and Unhelpful Comments in Grief Situations,” Jackson State University, Dr. Pamela
               Banks
1998           “Reading, Writing and Sexual Abuse: Student Sexual Abuse by Educator Personnel,” Submitted
               for publication to The Researcher, Jackson State University, Jackson, Mississippi, Dr. Gladys
               Johnson
1997           “Peer-Initiated Materials and Activities to Educate Adolescents about HIV and AIDS
               Prevention,” The Researcher, Volume XV. No. 3


PROFESSIONAL MEMBERSHIPS/COMMITTEES:

2014-present   Emergency Medicine Liaison, Atlanta Medical Center South Sepsis Committee
2012-present   American Medical Association
2012-present   Artemis Medical Society Member
2011-present   Evan Oglesby Foundation, Board Member
2008-present   Texas College of Emergency Physicians
2007-present   American College of Emergency Physicians
2007-present   Emergency Medicine Residents’ Association
2006-present   Wellington Institute Multi-education and Psychosocial Services Advisory Board
2006-present   Tennessee Chapter of the American College of Physicians
2006-2008      Emergency Medicine Club
2004-2008      Surgery Club
2003-present   Meharry National Alumni Association
2003-present   American Medical Student Association
2003-present   Student National Medical Association
2003-2008      Geriatrics Club
2003-2008      Internal Medicine Club
2002-present   National Association of Healthcare Services Executives
2001-present   Alumni Association of the J-Settes Dance Team of Jackson State University’s Sonic Boom
               of the South Marching Band
2000-present   Alpha Chi National Honors Fraternity
2000-present   Alpha Kappa Mu National Honors Fraternity
2000-present   Alpha Lambda Delta National Honors Fraternity
2000-present   Phi Kappa Phi National Honors Fraternity
       Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 12 of 47


Richisa L. S. Johnson Hamilton, MD, MSPH
Page Five


2000-present   Psi Chi Psychological Honors Society
2000-present   Southeastern Psychological Association
1999-present   American Psychological Association (Student Affiliate)
1998-present   Christian Care Assisted Living Center Advisory Board


Emergency Department Electronic Record Systems:
A4             Cerner/FirstNet         Doctors Choice          Epic            MedHost          Meditech


ACTIVITIES:

2013           Participant, Atlanta Medical Center Trauma Commercial, Atlanta, Georgia
2013           Doctor, Disney’s Doc McStuffins’ Tour, Atlanta, Georgia
2008           Doctor of the Day, Mississippi House of Representatives and Senate, Jackson, Missippi
2006-present   President of the Wellington Institute Advisory Board
2006-2007      Chair of the Resident Activity Committee, Christian Care Assisted Living Center, Canton,
               Mississippi
2006-2008      Emergency Medicine Club, Meharry Medical College
2005-2008      Surgery Club
2004-2006      Student Interview Member, Admissions Committee, Meharry Medical College
2004-present   Legion of Mary, Cathedral of the Incarnation, Nashville, Tennessee
2003-2008      Internal Medicine Club, Meharry Medical College
2003-2008      Geriatrics Club, Meharry Medical College
2003-2008      Circle of Friends, Meharry Medical College
2003-present   Mentor for the Minority Association for Pre-Medical Students, Meharry Medical College
2003-present   Pencil Foundation, Tennessee Division, Nashville, Tennessee
2002-2003      Miss School of Graduate Studies and Research, Meharry Medical College
2002-2003      Pre-Alumni Association, Meharry Medical College


COMMUNITY SERVICE:

2018           Doctor of the Day, Legislative Session, Atlanta, Georgia
2017           Volunteer of the Month, Kids Comfort Connection, Wellington Institute, Jackson, Mississippi
2017           Volunteer, Christian Care Assisted Living Center, Canton, Mississippi
2016           Emergency Medicine Preceptor, Atlanta Medical Center South, East Point, Georgia
2014           Career Day at Whitewater Middle School, Fayetteville, Georgia
2013           Disney’s Doc McStuffins’ Tour, Atlanta, Georgia
2010           Planner for the Grief Camp Kids Comfort Connection, Wellington Institute, Jackson, Mississippi
2010-present   Volunteer of the Make-A-Wish Foundation
2007           Wellington Institute Community Picnic, Jackson, MS
2005           Feed the hungry, thanksgiving dinner with the Meharry freshman class, Meharry Medical
               College
2004           Clothes for Christmas drive, Meharry Medical College
2004-2008      Legion of Mary, Cathedral of the Incarnation, Travecca Nursing Home, Baptist Hospital,
               Belcourt Terrace Nursing Home, Lakeshore Nursing Community, Mariner Health, Nashville,
               Tennessee
2003-2008      Mentor for the Minority Association for Pre-Medical Students, Meharry Medical College,
               Nashville, Tennessee
2003-2008      Tutor for the Pencil Foundation, Tennessee Division, Nashville, Tennessee
2003           Coordinated a Blood Drive sponsored by the American Red Cross, Meharry Medical College,
               Nashville, Tennessee
2002           Community Day sponsored by the Pre-Alumni Association, Meharry Medical College,
               Nashville, Tennessee
       Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 13 of 47


Richisa L. S. Johnson Hamilton, MD, MSPH
Page Six


2002           American Heart Association Heart Walk, Meharry Medical College
2002           Habitat for Humanity, Meharry Medical College, Nashville, Tennessee
2001-2004      Volunteer, Metro General Hospital, Nashville, Tennessee
1995-2001      Resident assistant, Christian Care Assisted Living Center, Canton, Mississippi


HONORS AND AWARDS:

Meharry Medical College:
2007      Nominated for Alpha Omega Alpha National Honors Medical Society Membership
2005-2007 Dean’s List, School of Medicine
2005-2006 Thomas L. Davis Memorial Scholarship
2004-2005 Academic Excellence Award, School of Graduate Studies and Research
2003      Highest Honors, School of Graduate Studies and Research, Meharry Medical College
          Graduation Ceremony
2002-2004 Environmental Protection Agency Minority Fellowship, Environmental Protection
          Agency, Washington, D.C.
2002-2003 Outstanding Senior of the School of Graduate Studies and Research
2002-2003 Dean’s List, School of Graduate Studies and Research
2002-2003 Meharry Association of Office Personnel Scholarship
2002-2003 Fourth Place, National Association of Health Services Executives Public Health Case
          Competition, Miami, Florida
2002-2003 Miss School of Graduate Studies and Research, Meharry Medical College Royal Court


Jackson State University:
2001        Most Distinguished Student Research Poster Award, MS Academy of Science, Tupelo,
            Mississippi
2001        Reading Award, MEDCORP IV; University of Mississippi Medical Center, Jackson,
            Mississippi
2000-2001   Certificate of Academic Excellence, President Ronald Mason
2000        Alpha Chi Honors Fraternity
2000        Alpha Kappa Mu Honors Fraternity
2000        Phi Kappa Phi Honors Fraternity
2000        Psi Chi Honors Psychology Fraternity
1999-2001   President’s List
1999-2001   National Institute of Mental Health - Career Opportunities in Research (NIMH-COR)
            Honors Undergraduate Research Training Program
1999-2000   Certificate of Academic Excellence, James E. Lyons, President of Jackson State
            University
1999        Alpha Lambda Delta Honorary Society
1998-2001   Academic Scholarship
1998-2001   Violin Scholarship



PERSONAL INTERESTS:

Painting       Arts and crafts         Dancing                  Graphic Design          Pilates

Playing the piano      Playing the violin      Step Aerobics            Cooking
                          Practical Guide to Clinical Medicine    Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 14 of 47

                          A comprehensive physical examination and clinical education site for medical students and other health care professionals
Exhibit B
Content and Photographs by Charlie Goldberg, M.D., UCSD School of Medicine and VA Medical Center, San Diego, California 92093-0611.
Send Comments to: Charlie Goldberg, M.D.


 SERVER MAINTENANCE NOTICE:
 The Web Portal and supporting sites may be offline for maintenance between June 21st 10p and June 22nd 10am.


Write Ups                                                                                                                                                          Previous     Next

The written History and Physical (H&P) serves several purposes:

  :. It is an important reference document that provides concise information about a patient's history and exam findings at the time of admission.
  C. It outlines a plan for addressing the issues which prompted the hospitalization. This information should be presented in a logical fashion that prominently features all of
     the data thatʼs immediately relevant to the patient's condition.
  F. It is a means of communicating information to all providers who are involved in the care of a particular patient.
  G. It allows students and house staff an opportunity to demonstrate their ability to accumulate historical and examination-based information, make use of their medical fund
     of knowledge, and derive a logical plan of attack.

The H&P is not:

  :. An instrument designed to torture Medical Students and Interns.
  C. Meant to cover unimportant/unrelated information.
  F. Should not require so much time to write that by the time itʼs submitted, the information contained within is obsolete!

Knowing what to include and what to leave out will be largely dependent on experience and your understanding of illness and pathophysiology. If, for example, you were
unaware that chest pain is commonly associated with coronary artery disease, you would be unlikely to mention other coronary risk-factors when writing the history. As you
gain experience, your write-ups will become increasingly focused. You can accelerate the process by actively seeking feedback about all the H&Ps that you create as well as by
reading those written by more experienced physicians. Several sample write-ups are presented at the end of this section to serve as reference standards.

The core aspects of the H&P are described in detail below.

Chief Concern (CC):
One sentence that covers the dominant reason(s) for hospitalization. While this has traditionally been referred to as the Chief Complaint, Chief Concern may be a better
description as it is less pejorative and confrontational sounding.

"CC: Mr. Smith is a 70 year-old male admitted for the evaluation of increasing chest pain."

History of Present Illness (HPI):

The HPI should provide enough information to clearly understand the symptoms and events that lead to the admission. This covers everything that contributed to the patient's
arrival in the ED (or the floor, if admission was arranged without an ED visit). Events which occurred after arrival can be covered in a summary paragraph that follows the pre-
hospital history.

A commonly used pneumonic to explore the core elements of the chief concerns is OLD CARTS, which includes: Onset, Location, Duration, Characteristics,
Aggravating/Alleviating factors, Related symptoms, Treatments, and Significance.

Some HPIs are rather straight forward. If, for example, you are describing the course of a truly otherwise healthy 40-year-old who presents with 3 days of cough, fever, and
shortness of breath as might occur with pneumonia, you can focus on that time frame alone. Writing HPIs for patients with pre-existing illness(es) or a chronic, relapsing
problems is a bit trickier. In such cases, itʼs important to give enough relevant past history "up front," as having an awareness of this data will provide the contextual information
that allows the reader to fully understand the acute issue. If, for example, a patient with a long history of coronary artery disease presents with chest pain and shortness of
breath, an inclusive format would be as follows:

"HIP: Mr. S is a 70 yr old male presenting with chest pain who has the following coronary artery disease related history:
-Status Post 3 vessel CABG in 2008.
-Suffered recurrent chest pain in December 2015, which ultimately lead to catheterization and stent placement in a mid-LAD lesion.
-He was re-cathed in January 2017 for recurrent chest pain at rest; at that time there was no significant change compared to catheterization of 12/15. The patient was
therefore continued on medical therapy.
-Known to have an Ejection Fraction of 40% with inferior and lateral akinesis by echo in January 2018
-No prior episodes of heart failure.
-Last Exercise Tolerance Test was performed in January of 2018 and showed no ischemia at 8 METS of activity.


Mr. S was in his usual state of health until last week (~ Saturday, November 18), when he began to experience recurrent episodes of chest pain, exactly like his past angina,
after walking only one block. This represented a significant change in his anginal pattern, which is normally characterized as mild discomfort which occurs after walking
vigorously for 8 or 9 blocks. In addition, 1 day prior to admission, the pain occurred while he was reading a book and resolved after taking a nitroglycerin tablet. It lasted
perhaps 1 minute. He has also noted swelling in his legs over this same time period and has awakened several times in the middle of the night, gasping for breath. In order to
breathe comfortably at night, Mr. S now requires the use of 3 pillows to prop himself up, whereas in the past he was always able to lie flat on his back and sleep without
difficulty. Mr. S is known to have poorly controlled diabetes and hypertension. He currently smokes 2 packs of cigarettes/day. He denies fevers, chills, cough, wheezing, nausea
vomiting, recent travel, or sick contacts."

That's a rather complicated history. However, it is obviously of great importance to include all of the past cardiac information "up front" so that the reader can accurately
interpret the patient's new symptom complex. The temporal aspects of the history are presented in an easy to follow fashion, starting with the most relevant distant event and
then progressing step-wise to the present.

From a purely mechanical standpoint, note that historical information can be presented as a list (in the case of Mr. S, this refers to his cardiac catheterizations and other related
data). This format is easy to read and makes bytes of chronological information readily apparent to the reader. While this data is technically part of the patient's "Past Medical
History," it would be inappropriate to not feature this prominently in the HPI. Without this knowledge, the reader would be significantly handicapped in their ability to
understand the patient's current condition.

Knowing which past medical events are relevant to the chief concern takes experience. In order to gain insight into what to include in the HPI, continually ask yourself, "If I was
reading this, what historical information would I like to know?" Note also that the patient's baseline health status is described in some detail so that the level of impairment
caused by their current problem is readily apparent.

The remainder of the HPI is dedicated to the further description of the presenting concern. As the story teller, you are expected to put your own spin on the write-up. That is,
the history is written with some bias. You will be directing the reader towards what you feel is/are the likely diagnoses by virtue of the way in which you tell the tale. If, for
example, you believe that the patient's chest pain is of cardiac origin, you will highlight features that support this notion (e.g. chest pressure with activity, relieved with
nitroglycerin, preponderance of coronary risk factors etc.). These comments are referred to as "pertinent positives." These details are factual and no important features have
been omitted. The reader retains the ability to provide an alternative interpretation of the data if he/she wishes. A brief review of systems related to the current complaint is
generally noted at the end of the HPI. This highlights "pertinent negatives" (i.e. symptoms which the patient does not have). If present, these symptoms might lead the reader
to entertain alternative diagnoses. Their absence, then, lends support to the candidate diagnosis suggested in the HPI. More on the HPI can be found here: HPI.

Occasionally, patients will present with two (or more) major, truly unrelated problems. When dealing with this type of situation, first spend extra time and effort assuring
yourself that the symptoms are truly unconnected and worthy of addressing in the HPI. If so, present them as separate HPIs, each with its own paragraph.

Past Medical History (PMH):
This includes any illness (past or present) that the patient is known to have, ideally supported by objective data. Items which were noted in the HPI (e.g. the cardiac
catheterization history mentioned previously) do not have to be re-stated. You may simply write "See above" in reference to these details. All other historical information should
be listed. Important childhood illnesses and hospitalizations are also noted.

Detailed descriptions are generally not required. If, for example, the patient has hypertension, it is acceptable to simply write "HTN" without providing an in-depth report of this
problem (e.g. duration, all meds, etc.). Unless this has been a dominant problem, requiring extensive evaluation, as might occur in the setting of secondary hypertension.

Also, get in the habit of looking for the data that supports each diagnosis that the patient is purported to have. It is not uncommon for misinformation to be perpetuated when
past write-ups or notes are used as the template for new H&Ps. When this occurs, a patient may be tagged with (and perhaps even treated for) an illness which they do not
have! For example, many patients are noted to have Chronic Obstructive Pulmonary Disease (COPD). This is, in fact, a rather common diagnosis but one which can only be
made on the basis of Pulmonary Function Tests (PFTs). While a Chest X-Ray and smoking history offer important supporting data, they are not diagnostic. Thus, "COPD" can
repeatedly appear under a patient's PMH on the basis of undifferentiated shortness of breath coupled with a suggestive CXR and known smoking history, despite the fact that
they have never had PFTs. So, maintain a healthy dose of skepticism when reviewing notes and get in the habit of verifying critical primary data.

Past Surgical History (PSH):

All past surgeries should be listed, along with the rough date when they occurred. Include any major traumas as well.

Medications (MEDS):

Includes all currently prescribed medications as well as over the counter and non-traditional therapies. Dosage, frequency and adherence should be noted.

Allergies/Reactions (All/RXNs):

Identify the specific reaction that occurred with each medication.

Social History (SH):
This is a broad category which includes:

      Alcohol Intake: Specify the type, quantity, frequency and duration.
      Cigarette smoking: Determine the number of packs smoked per day and the number of years this has occurred. When multiplied this is referred to as "pack years." If
      theyʼve quit, make note of when this happened.
      Other Drug Use: Specify type, frequency and duration.
      Marital/Relationship Status; Intimate Partner Violence (IPV) screen.
      Sexual History, including: types of activity, history of STIs.
      Work History: type, duration, exposures.
      Other: travel, pets, hobbies.
      Health care maintenance: age and sex appropriate cancer screens, vaccinations.
      Military history, in particular if working at a VA hospital.

Family History (FH):
This should focus on illnesses within the patient's immediate family. In particular, identifying cancer, vascular disease or other potentially heritable diseases among first degree
relatives

Obstetrical History (where appropriate):

Included the number of pregnancies, live births, duration of pregnancies, complications. As appropriate, spontaneous and/or therapeutic abortions. Birth control (if
appropriate).

Review of Systems (ROS): As mentioned previously, many of the most important ROS questions (i.e. pertinent positives and negatives related to the chief concern) are
generally noted at the end of the HPI. The responses to a more extensive review, covering all organ systems, are placed in the "ROS" area of the write-up. In actual practice,
most physicians do not document an inclusive ROS. The ROS questions, however, are the same ones that are used to unravel the cause of a patient's chief concern. Thus, early
in training, it is a good idea to practice asking all of these questions so that you will be better able to use them for obtaining historical information when interviewing future
patients. A comprehensive list can be found here: ROS

Physical Exam:
Generally begins with a one sentence description of the patient's appearance.
Vital Signs:
HEENT: Includes head, eyes, ears, nose, throat, oro-pharynx, thyroid.
Lymph Nodes:
Lungs:
Cardiovascular:
Abdomen:
Rectal (as indicated):
Genitalia/Pelvic:
Extremities, Including Pulses:

Neurologic:

      Mental Status
      Cranial Nerves
      Motor
      Sensory (light touch, pin prick, vibration and position)
      Reflexes, Babinski
      Coordination
      Observed Ambulation

Lab Results, Radiologic Studies, EKG Interpretation, Etc.:

Assessment and Plan:

It's worth noting that the above format is meant to provide structure and guidance. There is no gold standard, and thereʼs significant room for variation. When you're exposed
to other styles, think about whether the proposed structure (or aspects thereof) is logical and comprehensive. Incorporate those elements that make sense into future write-
ups as you work over time to develop your own style

SAMPLE WRITE UP #1

ADMISSION NOTE

CC: Mr. B is a 72 yo man with a history of heart failure and coronary artery disease, who presents with increasing shortness of breath, lower extremity edema and weight gain.

HPI: His history of heart failure is notable for the following:

      First MI was in 2014, when he presented w/a STEMI related to an LAD lesion. This was treated w/a stent. Echo at that time remarkable for an EF 40%.
      Despite optimal medical therapy, he had a subsequent MI in 2016. At that time, cardiac catheterization occlusions in LAD, OMB, and circumflex arteries. No lesions were
      amenable to stenting. An echo was remarkable for a dilated LV, EF of 20-25%, diffuse regional wall motion abnormalities, 2+MR and trace TR.
      Heart failure symptoms of DOE and lower extremity edema developed in 2017. These have been managed medically with lisinopril, correg, lasix and metolazone.

Over the past 6 months he has required increasing doses of lasix to control his edema. He was seen 2 weeks ago by his Cardiologist, Dr. Johns, at which time he was noted to
have worsening leg and scrotal edema. His lasix dose was increased to 120 bid without relief of his swelling.

Over the past week he and his wife have noticed a further increase in his lower extremity edema which then became markedly worse in the past two days. The swelling was
accompanied by a weight gain of 10lb in 2 days (175 to 185lb) as well as a decrease in his exercise tolerance. He now becomes dyspneic when rising to get out of bed and has
to rest due to SOB when walking on flat ground. He has 2 pillow orthopnea, but denies PND.

Denies CP/pressure, palpitations or diaphoresis. Occasional nausea, but no vomiting. He eats normal quantities of food but does not salt or fluid intake. He also admits to
frequently eating canned soup, frozen meals, and drinking 6-8 glasses liquid/day. He has increased urinary frequency, but decreased total amount of urine produced. He
denies urinary urgency, dysuria or hematuria. He has not noted cough, sputum, fever or chills. He states he has been taking all prescribed medications on most days – missing
a few (? 2-3) doses a week.

PMH:                                                                                                                                                     CHF- as above
                                                                                                                                                         MI 2014, 2016
                                                                                                                                                         HTM
                                                                                                                                                         Chronic renal insufficiency
                                                                                                                                                         from DM nephropathy: Cr
                                                                                                                                                         1.8 1/2018
                                                                                                                                                         Diabetes: controlled with
                                                                                                                                                         Metformin – a1c 6.8
                                                                                                                                                         2/2018

PSH:                                                                                                                                                     Appendectomy 1992
                                                                                                                                                         Cholecystectomy 2004

MEDS:                                                                                                                                                    Lasix 120 mg BID
                                                                                                                                                         Correg 25 bid
                                                                                                                                                         Lisinopril 40 qd
                                                                                                                                                         KCl 40 meq qd
                                                                                                                                                         Dabigatran 200 mg qd
                                                                                                                                                         Metformin 1g bid
                                                                                                                                                         ASA 81mg qd
                                                                                                                                                         Atorvastatin 40 mg/d

Allergies:                                                                                                                                               No Known Drug Allergies

Social History:                                                                                                                                          Married for 45 years,
                                                                                                                                                         sexual active with wife.
                                                                                                                                                         Three children, 2
                                                                                                                                                         grandchildren, all healthy
                                                                                                                                                         and well; all live within 50
                                                                                                                                                         miles. Retired school
                                                                                                                                                         teacher. Enjoys model car
                                                                                                                                                         building. Walks around
                                                                                                                                                         home, shopping but
                                                                                                                                                         otherwise not physically
                                                                                                                                                         active.

Smoking:                                                                                                                                                 None

Alcohol:                                                                                                                                                 None

Other substance use:                                                                                                                                     None

Military service:                                                                                                                                        Marine Corp x 4 years,
                                                                                                                                                         non-combat. Worked
                                                                                                                                                         logistics.

Family History:                                                                                                                                          + sister and mother with
                                                                                                                                                         DM, father with CAD, age
                                                                                                                                                         onset 50. Brother with
                                                                                                                                                         leukemia.

ROS                                                                                                                                                      General: Denies fatigue,
                                                                                                                                                         fever, chills, weight loss; +
                                                                                                                                                         weight gain as above
                                                                                                                                                         HENT: Denies oral sores,
                                                                                                                                                         neck masses, nasal d/c,
                                                                                                                                                         hearing problems
                                                                                                                                                         Vison: Denies change in
                                                                                                                                                         vision, eye pain, redness,
                                                                                                                                                         discharge
                                                                                                                                                         Cardiac: As above
                                                                                                                                                         Pulmonary: As above
                                                                                                                                                         GI: Denies heart burn,
                                                                                                                                                         swallowing difficulty,
                                                                                                                                                         abdominal pain, diarrhea,
                                                                                                                                                         constipation
                                                                                                                                                         GU: As per HPI
                                                                                                                                                         Neuro: Denies seizure,
                                                                                                                                                         weakness, numbness
                                                                                                                                                         Endo: Denies heat/cold
                                                                                                                                                         intolerance, weight
                                                                                                                                                         changes, polyuria,
                                                                                                                                                         polydipsia
                                                                                                                                                         Heme/Onc: Denies
                                                                                                                                                         unusual bleeding, bruising,
                                                                                                                                                         clotting
                                                                                                                                                         MSK: Denies join pain,
                                                                                                                                                         swelling, muscle aches
                                                                                                                                                         Mental Health: Denies
                                                                                                                                                         anxiety, depression, mood
                                                                                                                                                         changes,
                                                                                                                                                         Skin/Hair: Denies rashes,
                                                                                                                                                         non-healing wounds,
                                                                                                                                                         ulcers, hair loss

PE:                                                                                                                                                      VS: T 97.1, P65, BP 116/66,
                                                                                                                                                         O2Sat 98% on 2L NC
                                                                                                                                                         Weight 187lbs
                                                                                                                                                         GEN: elderly man lying in
                                                                                                                                                         bed with head up, NAD
                                                                                                                                                         HEENT: NCAT, multiple
                                                                                                                                                         telangiectasias on face
                                                                                                                                                         and nose; EOMI, PERRLA,
                                                                                                                                                         Oropharynx w/o lesions,
                                                                                                                                                         mucous membranes
                                                                                                                                                         moist; thyroid not
                                                                                                                                                         palpable, no adenopathy
                                                                                                                                                         Pulmonary: +dullness to
                                                                                                                                                         percussion at right base, +
                                                                                                                                                         crackles 1/2 way up chest
                                                                                                                                                         bilateral posteriorly
                                                                                                                                                         Cardio: RRR, +2/6
                                                                                                                                                         holosystolic murmur at
                                                                                                                                                         apex radiating to axilla,
                                                                                                                                                         +S3, no S4; PMI displaced
                                                                                                                                                         laterally toward axilla;
                                                                                                                                                         carotid pulses 2+ B, no
                                                                                                                                                         bruits; JVP 12cm
                                                                                                                                                         Abdomen: +BS, non-
                                                                                                                                                         distended, nontender, no
                                                                                                                                                         hepatomegaly.
                                                                                                                                                         Extremities: 3+ edema to
                                                                                                                                                         sacrum, abdominal wall
                                                                                                                                                         and scrotum; no clubbing,
                                                                                                                                                         cyanosis, no skin breaks
                                                                                                                                                         distally
                                                                                                                                                         Pulses: 2+femoral B, 1+
                                                                                                                                                         PT/DP B
                                                                                                                                                         Neuro:
                                                                                                                                                            Mental status: alert and
                                                                                                                                                         appropriate
                                                                                                                                                            Motor: 5/5 all
                                                                                                                                                         extremities
                                                                                                                                                            Sensory: distal
                                                                                                                                                         sensation in legs intact to
                                                                                                                                                         light touch, pin prick;
                                                                                                                                                         proprioception toes
                                                                                                                                                         normal bilaterally; vibration
                                                                                                                                                         intact at IP joint bilateral
                                                                                                                                                         great toes
                                                                                                                                                            Reflexes: 2+ and
                                                                                                                                                         symmetric bilaterally:
                                                                                                                                                         biceps, triceps,
                                                                                                                                                         brachioradialis, patellar,
                                                                                                                                                         achilles
                                                                                                                                                            Gait: not observed

Labs and Data:                                                                                                                                           Na 128, C1 96, Bun 59,
                                                                                                                                                         Glucose 92, K 4.4, CO2
                                                                                                                                                         40.8, CR 1.4, WBC 7.9, PLT
                                                                                                                                                         349, HCT 43.9, Alk phos
                                                                                                                                                         72, Total Protein 5.6, Alb
                                                                                                                                                         3.5, T Bili 0.5, Alt 17, Ast
                                                                                                                                                         52, Troponin < .01, BNP
                                                                                                                                                         1610.
                                                                                                                                                         EKG: Sr at 74, q-waves v1-
                                                                                                                                                         v5, no st-t wave changes.
                                                                                                                                                         No change compared with
                                                                                                                                                         study of 6m ago.
                                                                                                                                                         CXR: Prominent pulmonary
                                                                                                                                                         vessels with moderate
                                                                                                                                                         interstitial edema and right
                                                                                                                                                         pleural effusion.
                                                                                                                                                         Cardiomegaly. No
                                                                                                                                                         parenchymal infiltrates.

Assessment and Plan:                                                                                                                                     72-year-old man with
                                                                                                                                                         history of HFrEF following
                                                                                                                                                         multiple Mis, admitted with
                                                                                                                                                         sub-acute worsening
                                                                                                                                                         edema and DOE. His
                                                                                                                                                         symptoms are most
                                                                                                                                                         consistent with increasing
                                                                                                                                                         heart failure, which would
                                                                                                                                                         account for both his
                                                                                                                                                         pulmonary congestion as
                                                                                                                                                         well as his peripheral
                                                                                                                                                         edema. His renal disease
                                                                                                                                                         is a less likely explanation
                                                                                                                                                         for his extensive edema as
                                                                                                                                                         his BUN/Cr have remained
                                                                                                                                                         stable throughout.
                                                                                                                                                         Elevated BNP is also
                                                                                                                                                         consistent w/heart failure.


                                                                                                                                                         The question is why his
                                                                                                                                                         heart failure has become
                                                                                                                                                         refractory to treatment?
                                                                                                                                                         Possibilities include: 1)
                                                                                                                                                         worsening LV function, 2)
                                                                                                                                                         another MI, 3) worsening
                                                                                                                                                         valvular disease, 4) poor
                                                                                                                                                         compliance with
                                                                                                                                                         medications and/or 5)
                                                                                                                                                         excess salt and water
                                                                                                                                                         intake. There is no
                                                                                                                                                         evidence by history, EKG,
                                                                                                                                                         or enzymes for current
                                                                                                                                                         ischemia/infarct. And his
                                                                                                                                                         valvular disease does not
                                                                                                                                                         appear severe enough to
                                                                                                                                                         be causing symptoms.
                                                                                                                                                         Given this, the most likely
                                                                                                                                                         precipitant of his failure is
                                                                                                                                                         a combination of dietary
                                                                                                                                                         indiscretion and poor
                                                                                                                                                         adherence with
                                                                                                                                                         medications in a patient
                                                                                                                                                         with a severely depressed
                                                                                                                                                         EF.
                                                                                                                                                            :. Cardiac: As above his
                                                                                                                                                               picture is consistent
                                                                                                                                                               with CHF with the
                                                                                                                                                               likely precipitant
                                                                                                                                                               related to dietary and
                                                                                                                                                               medication non-
                                                                                                                                                               adherence.
                                                                                                                                                                      Strict I/O's.
                                                                                                                                                                      Daily weights
                                                                                                                                                                      Fluid restriction
                                                                                                                                                                      to 2L/day
                                                                                                                                                                      Low salt diet
                                                                                                                                                                      Lasix 80mg IV
                                                                                                                                                                      with IV
                                                                                                                                                                      metolazone
                                                                                                                                                                      now and Q8..
                                                                                                                                                                      With goal
                                                                                                                                                                      diuresis of 2-3
                                                                                                                                                                      L/day
                                                                                                                                                                      Continue
                                                                                                                                                                      lisinopril 40 qd,
                                                                                                                                                                      correg 25 bid
                                                                                                                                                                      Check
                                                                                                                                                                      electrolytes,
                                                                                                                                                                      renal function
                                                                                                                                                                      bid
                                                                                                                                                                      Education
                                                                                                                                                                      about
                                                                                                                                                                      appropriate diet
                                                                                                                                                                      via nutrition
                                                                                                                                                                      consult
                                                                                                                                                                      Repeat Echo,
                                                                                                                                                                      comparing it
                                                                                                                                                                      with prior study
                                                                                                                                                                      for evidence of
                                                                                                                                                                      drop in LV
                                                                                                                                                                      function
                                                                                                                                                                      Given degree of
                                                                                                                                                                      symptoms and
                                                                                                                                                                      severity of LV
                                                                                                                                                                      impairment, will
                                                                                                                                                                      obtain
                                                                                                                                                                      Cardiology
                                                                                                                                                                      consult. To
                                                                                                                                                                      assist
                                                                                                                                                                      w/management,
                                                                                                                                                                      inquire re use
                                                                                                                                                                      of Entresto and
                                                                                                                                                                      other
                                                                                                                                                                      interventions to
                                                                                                                                                                      improve
                                                                                                                                                                      symptoms.
                                                                                                                                                            C. Pulmonary: his
                                                                                                                                                               crackles and oxygen
                                                                                                                                                               requirement are all
                                                                                                                                                               likely due to
                                                                                                                                                               pulmonary
                                                                                                                                                               congestion from LV
                                                                                                                                                               dysfunction. He has
                                                                                                                                                               no signs, symptoms
                                                                                                                                                               of another primary
                                                                                                                                                               pulmonary process
                                                                                                                                                               (e.g. infection, COPD
                                                                                                                                                               exacerbation, PE)
                                                                                                                                                                      02 to maintain
                                                                                                                                                                      sat greater than
                                                                                                                                                                      95%
                                                                                                                                                                      treat cardiac
                                                                                                                                                                      disease as
                                                                                                                                                                      above, focusing
                                                                                                                                                                      on diuresis
                                                                                                                                                            F. Renal: CKD stage 3
                                                                                                                                                               from DM (on basis
                                                                                                                                                               prior elevated
                                                                                                                                                               protein/creat ratio)
                                                                                                                                                               and hypertension.
                                                                                                                                                                      Qd chem 7
                                                                                                                                                                      w/diuresis
                                                                                                                                                            G. DM: His sugars have
                                                                                                                                                               been well-controlled
                                                                                                                                                               on current regimen
                                                                                                                                                                      Hold metformin
                                                                                                                                                                      in house
                                                                                                                                                                      Low intensity
                                                                                                                                                                      sliding scale
                                                                                                                                                                      insulin
                                                                                                                                                                      coverage
                                                                                                                                                                      ADA 2100
                                                                                                                                                                      calorie diet
                                                                                                                                                                      FS BS qac and
                                                                                                                                                                      qhs
                                                                                                                                                            x. Disposition:
                                                                                                                                                               Anticipate discharge
                                                                                                                                                               home in 3 days, with
                                                                                                                                                               close follow up from
                                                                                                                                                               heart failure service
                                                                                                                                                               to assist with
                                                                                                                                                               maintaining clinical
                                                                                                                                                               stability, preventing
                                                                                                                                                               re-admissions.


SAMPLE WRITE-UP #2

ADMISSION NOTE
CC: Mr. S is a 65-year-old man who presents with 2 concerns:
1. Acute, painless decline in vision
2. Three day history of a cough.

HPI:
1. Visual changes: Yesterday morning, while eating lunch, the patient had the sudden onset of painless decrease in vision in both eyes, more prominent on the right. Onset was
abrupt and he first noted this when he "couldn't see the clock" while at a restaurant. He also had difficulty determining the numbers on his cell phone. He denied pain or
diplopia. Did not feel like a “curtain dropping” in front of his eyes. He had nausea and vomiting x2 yesterday, which has resolved. He did not seek care, hoping that the problem
would resolve on its own. When he awoke this morning, the same issues persisted (no better or worse) and he contacted his niece, who took him to the hospital. At baseline, he
uses prescription glasses without problem and has no chronic eye issues. Last vision testing was during visit to his optometrist 2 year ago. Notes that his ability to see things is
improved when he moves his head to bring things into better view. Denies dizziness, weakness, headache, difficulty with speech, chest pain, palpitations, weakness or
numbness. No history of atrial fibrillation, carotid disease, or heart disease that he knows of.

2. Cough: Patient has history of COPD with 60+ pack year smoking history and most recent PFT's (2016) consistent with moderate disease. Over the past few days he has
noted increased dyspnea, wheezing, and sputum production. Sputum greenish colored. He uses 2 inhalers, Formoterol and Tiotropium every day and doesnʼt miss any
dosages. He was treated with antibiotics and prednisone a few years ago when he experienced shortness of breath. He has not had any other breathing issues and no
hospitalizations or ED visits. Denies hemoptysis, fevers, orthopnea, PND, chest pain or edema.

ED course: given concern over acute visual loss and known vascular disease, a stroke code was called when patient arrived in ER. Neurology service evaluated patient and CT
head obtained. Data was consistent with occipital stroke, which occurred > 24 hours ago. Additional details re management described below.

PMH:                                                                                                                                                    COPD (moderate) – PFTs
                                                                                                                                                        2014 fev1/fvc .6, fev1 70%
                                                                                                                                                        predicted
                                                                                                                                                        Hypertension dx 2012
                                                                                                                                                        GERD
                                                                                                                                                        Hyperlipidemia – ASCVD
                                                                                                                                                        12%
                                                                                                                                                        Obstructive sleep apnea dx
                                                                                                                                                        2014, uses CPAP

PSH:                                                                                                                                                    Right orchiectomy at age 5
                                                                                                                                                        for traumatic injury
                                                                                                                                                        Right cataract removal and
                                                                                                                                                        lens implant placement on
                                                                                                                                                        2014

MEDS:                                                                                                                                                   Asa 81 qd
                                                                                                                                                        Lisinopril 40 mg qd
                                                                                                                                                        Atenolol 50 mg qd
                                                                                                                                                        Pantoprazole 20 mg po qd
                                                                                                                                                        Tiotropium 2 puffs qd
                                                                                                                                                        Formoterol 2 puffs qd
                                                                                                                                                        Atorvastatin 40mg qd

Allergies:                                                                                                                                              None

Smoking:                                                                                                                                                60 pack yr history, now
                                                                                                                                                        1ppd

Alcohol:                                                                                                                                                Heavy in past, quit 5 y ago.
                                                                                                                                                        None currently. No know
                                                                                                                                                        alcohol related target organ
                                                                                                                                                        damage

Other substance use:                                                                                                                                    None

Social:                                                                                                                                                 Lives with roommate in
                                                                                                                                                        Encinitas. Heterosexual, not
                                                                                                                                                        currently active. Never
                                                                                                                                                        married, no children.
                                                                                                                                                        Worked in past as architect,
                                                                                                                                                        though currently on
                                                                                                                                                        disability. Enjoys walking
                                                                                                                                                        and reading.

Family:                                                                                                                                                 Brother and father with
                                                                                                                                                        CAD. Brother with CABG at
                                                                                                                                                        age 55. Father with multiple
                                                                                                                                                        strokes. Mother with DM.

Military service:                                                                                                                                       None

ROS:                                                                                                                                                    General: denies fatigue,
                                                                                                                                                        fever, chills, weight loss,
                                                                                                                                                        weight gain
                                                                                                                                                        HENT: denies oral sores,
                                                                                                                                                        neck masses, nasal d/c,
                                                                                                                                                        hearing problems
                                                                                                                                                        Vison: as per HPI
                                                                                                                                                        Cardiac: as per HPI
                                                                                                                                                        Pulmonary: as per HIP
                                                                                                                                                        GI: Denies heart burn,
                                                                                                                                                        swallowing difficulty,
                                                                                                                                                        abdominal pain, diarrhea,
                                                                                                                                                        constipation
                                                                                                                                                        GU: Denies hematuria,
                                                                                                                                                        dysuria, nocturia, urgency,
                                                                                                                                                        frequency
                                                                                                                                                        Neuro: Denies seizure,
                                                                                                                                                        weakness, numbness
                                                                                                                                                        Endo: Denies heat/cold
                                                                                                                                                        intolerance, weight
                                                                                                                                                        changes, polyuria,
                                                                                                                                                        polydipsia
                                                                                                                                                        Hematology/Oncology:
                                                                                                                                                        Denies unusual bleeding,
                                                                                                                                                        bruising, clotting
                                                                                                                                                        MSK: Denies join pain,
                                                                                                                                                        swelling, muscle aches
                                                                                                                                                        Mental Health: Denies
                                                                                                                                                        anxiety, depression, mood
                                                                                                                                                        changes,
                                                                                                                                                        Skin/Hair: denies rashes,
                                                                                                                                                        non-healing wounds,
                                                                                                                                                        ulcers, hair loss

PE:                                                                                                                                                     VS: T 99 P89, irregularly
                                                                                                                                                        irregular BP 139/63, RR 20
                                                                                                                                                        O2 Sat 98% RA
                                                                                                                                                        GEN: Obese, pale man
                                                                                                                                                        turning his head side to
                                                                                                                                                        right side in order to see us.
                                                                                                                                                        No acute distress
                                                                                                                                                        HEENT: NCAT, PERRL.
                                                                                                                                                        Discs sharp. EOMI. Visual
                                                                                                                                                        acuity/fields as per neuro
                                                                                                                                                        below
                                                                                                                     Temporal arteries
                                            Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 15 of 47        nontender. Conjunctiva
                                                                                                                     clear.
                                                                                                                     Neck: No adenopathy. No
                                                                                                                     JVD. Carotid pulses 2+
                                                                                                                     bilaterally.
                                                                                                                     Pulmonary: Moves air
                                                                                                                     equally bilaterally, though
                                                                                                                     wheezes on auscultation
                                                                                                                     throughout.
                                                                                                                     CV: irregularly irregular, II/VI
                                                                                                                     systolic crescendo-
                                                                                                                     decrescendo murmur at
                                                                                                                     LUSB, radiating to carotids.
                                                                                                                     No S3, S4. PMI not-
                                                                                                                     displaced.
                                                                                                                     Abd: Obese + normal BS.
                                                                                                                     Soft. Nontender. Liver
                                                                                                                     nonpalpable. Liver 8 cm at
                                                                                                                     mid-clavicular line by
                                                                                                                     percussion.
                                                                                                                     Rectal: brown stool, OB neg
                                                                                                                     in ER
                                                                                                                     Pulses: Fem R 2+ L +1. DP
                                                                                                                     2+ B. PT 1+ B
                                                                                                                     Extremities: no cyanosis,
                                                                                                                     clubbing or edema. Warm,
                                                                                                                     well-perfused.
                                                                                                                     Neuro:
                                                                                                                     AOX3; answers questions
                                                                                                                     appropriately
                                                                                                                     CNs:
                                                                                                                     I: Able to detect coffee B
                                                                                                                     nares at 10cm
                                                                                                                     II: Loss of nasal field R eye,
                                                                                                                     temporal field L eye by
                                                                                                                     confrontation – can detect
                                                                                                                     hand movement in those
                                                                                                                     areas, but canʼt read vision
                                                                                                                     card at any line; Vision
                                                                                                                     20/40 B in fields where
                                                                                                                     vision preserved (i.e. if
                                                                                                                     vision card held in front of
                                                                                                                     patients face towards their
                                                                                                                     right)
                                                                                                                     III, IV, VI: extra-ocular
                                                                                                                     movements preserved in all
                                                                                                                     directions.
                                                                                                                     V: intact light touch all
                                                                                                                     regions of face; masseter
                                                                                                                     and temporalis muscles 5/5
                                                                                                                     B
                                                                                                                     VII: muscles of facial
                                                                                                                     expression intact
                                                                                                                     VIII: hearing equal bilateral
                                                                                                                     IX, X: palate symmetric
                                                                                                                     XI: SCM, Trap 5/5
                                                                                                                     XII: Tongue midline
                                                                                                                     Motor: Strength 5/5:
                                                                                                                     biceps, triceps, grip, quad,
                                                                                                                     hamstring, plantarflex,
                                                                                                                     dorsiflex. F-N slight int.
                                                                                                                     tremor on left.
                                                                                                                     Rapid alternating
                                                                                                                     movements: symmetric and
                                                                                                                     equal
                                                                                                                     Gait: normal
                                                                                                                     Sensory: intact light touch,
                                                                                                                     pin prick, vibration,
                                                                                                                     proprioception at feet
                                                                                                                     bilateral.
                                                                                                                     Romberg negative; gait
                                                                                                                     somewhat unsteady due to
                                                                                                                     visual issues
                                                                                                                     Reflexes: Biceps, triceps,
                                                                                                                     brachioradialis: 2+ B.
                                                                                                                     Patellar, achilles 2+ B; Toes
                                                                                                                     down going.

Labs, Imaging and other Data:                                                                                        Na 138, C1 106, Bun 13, Glu
                                                                                                                     99, K 4.5, CO2 25, CR 1.9,
                                                                                                                     WBC 11, PLT 597, HgB 13.5,
                                                                                                                     MCV 72.5, pulses P73 L16
                                                                                                                     E3 B0; Alk phos 72, T
                                                                                                                     Protein 7.2, Alb 3.1, ALT 9,
                                                                                                                     AST 14, LDH 123, TB 0.5,
                                                                                                                     INR 1.3, TSH 2

                                                                                                                     Head CT: several, new well-
                                                                                                                     demarcated infarcts in R
                                                                                                                     occipitoparietal region. No
                                                                                                                     evidence hemorrhage. No
                                                                                                                     midline shift.

                                                                                                                     CXR: no infiltrate; flattened
                                                                                                                     diaphragms bilaterally
                                                                                                                     consistent with COPD.

                                                                                                                     EKG: A fib at 72. No acute
                                                                                                                     st-t wave changes or other
                                                                                                                     findings different from
                                                                                                                     study 6m prior.


Assessment and Plan:                                                                                                 65-year old man who
                                                                                                                     presents with acute visual
                                                                                                                     field deficits consistent with
                                                                                                                     embolic stroke. Story of the
                                                                                                                     sudden onset of neurologic
                                                                                                                     deficits while awake, in the
                                                                                                                     setting of newly identified
                                                                                                                     atrial fibrillation, is most
                                                                                                                     consistent with a cardio-
                                                                                                                     embolic event. Artery-
                                                                                                                     artery embolization is also a
                                                                                                                     possibility (e.g. vertebral-
                                                                                                                     basilar). Thrombosis in situ
                                                                                                                     less likely, as multiple
                                                                                                                     occipital infarcts are noted.
                                                                                                                     Carotid stenosis not likely
                                                                                                                     as retinal exam without
                                                                                                                     evidence of local infarct,
                                                                                                                     visual deficits indicate
                                                                                                                     lesion that is after the optic
                                                                                                                     chiasm, and CT w/posterior
                                                                                                                     distribution infarcts.
                                                                                                                     Similarly, temporal arteritis
                                                                                                                     would be consideration
                                                                                                                     given age and visual
                                                                                                                     deficits, though lack of
                                                                                                                     referable symptoms (i.e. no
                                                                                                                     jaw claudication, headache,
                                                                                                                     TA tenderness) and
                                                                                                                     distribution of stroke makes
                                                                                                                     this unlikely.

                                                                                                                     Of note, as last known
                                                                                                                     normal was > 24 hours ago,
                                                                                                                     he is outside the window to
                                                                                                                     receive TPA or device
                                                                                                                     driven therapy. No evidence
                                                                                                                     of ongoing events or
                                                                                                                     evolution. Focus at this
                                                                                                                     time thus will be on
                                                                                                                     completing diagnostic
                                                                                                                     evaluation, vigilance for
                                                                                                                     progression/complications,
                                                                                                                     and treatment to prevent
                                                                                                                     additional events.

                                                                                                                       :. Neuro: story and
                                                                                                                          imaging consistent
                                                                                                                          with embolic stroke
                                                                                                                          affecting visual
                                                                                                                          cortex. Currently no
                                                                                                                          signs of cerebral
                                                                                                                          edema increased ICP.
                                                                                                                                 Admit to step
                                                                                                                                 monitored unit
                                                                                                                                 level care
                                                                                                                                 Neurology
                                                                                                                                 service involved
                                                                                                                                 and following
                                                                                                                                 Head of bed
                                                                                                                                 elevated 30
                                                                                                                                 degrees;
                                                                                                                                 Monitor for
                                                                                                                                 change in level
                                                                                                                                 of
                                                                                                                                 consciousness
                                                                                                                                 that would be
                                                                                                                                 suggestive
                                                                                                                                 increased ICP
                                                                                                                                 Given that atrial
                                                                                                                                 fibrillation is the
                                                                                                                                 driving etiology,
                                                                                                                                 will start
                                                                                                                                 unfractionated
                                                                                                                                 heparin now to
                                                                                                                                 prevent
                                                                                                                                 additional
                                                                                                                                 events, targeting
                                                                                                                                 PTT 80-100.
                                                                                                                                 Very close
                                                                                                                                 clinical
                                                                                                                                 observation to
                                                                                                                                 assure no
                                                                                                                                 hemorrhagic
                                                                                                                                 conversion
                                                                                                                                 leading to
                                                                                                                                 increased ICP.
                                                                                                                                 Neuro service in
                                                                                                                                 agreement with
                                                                                                                                 this approach.
                                                                                                                                 MRI/MRA asap
                                                                                                                                 to fully
                                                                                                                                 characterize
                                                                                                                                 extent infarct
                                                                                                                                 and arterial
                                                                                                                                 anatomy
                                                                                                                                 Continue aspirin
                                                                                                                                 81mgd
                                                                                                                                 Occupational
                                                                                                                                 therapy for
                                                                                                                                 assistance with
                                                                                                                                 managing
                                                                                                                                 deficits
                                                                                                                                 Physical therapy
                                                                                                                                 evaluation for
                                                                                                                                 gait safety
                                                                                                                                 Ophthalmology
                                                                                                                                 evaluation for
                                                                                                                                 formal
                                                                                                                                 assessment
                                                                                                                                 fields, vision
                                                                                                                                 correction
                                                                                                                                 options
                                                                                                                       C. Pulmonary: Currently
                                                                                                                          afebrile and with
                                                                                                                          increased SOB, cough
                                                                                                                          and sputum
                                                                                                                          production in patient
                                                                                                                          with documented
                                                                                                                          moderate COPD by
                                                                                                                          PFTs. Symptoms are
                                                                                                                          suggestive of acute
                                                                                                                          COPD exacerbation,
                                                                                                                          which is presumed to
                                                                                                                          be of bacterial origin.
                                                                                                                          No evidence
                                                                                                                          pneumonia on CXR.
                                                                                                                                 Continue
                                                                                                                                 inhalers
                                                                                                                                 Doxycyline 100
                                                                                                                                 bid x 7d
                                                                                                                                 Prednisone 40
                                                                                                                                 mg qd x 5d
                                                                                                                                 Follow for
                                                                                                                                 clinical change
                                                                                                                                 Review smoking
                                                                                                                                 cessation
                                                                                                                                 options while in
                                                                                                                                 hospital
                                                                                                                       F. Cardiovascular: Newly
                                                                                                                          identified a fib. Has no
                                                                                                                          symptoms related to
                                                                                                                          tachycardia, impaired
                                                                                                                          ventricular function.
                                                                                                                          Duration unknown.
                                                                                                                          Likely etiology is
                                                                                                                          chronic hypertension
                                                                                                                          and OSA. No evidence
                                                                                                                          of other
                                                                                                                          toxic/metabolic
                                                                                                                          process (e.g. alcohol
                                                                                                                          withdrawal, anemia,
                                                                                                                          heart failure, thyroid
                                                                                                                          disease). Possible
                                                                                                                          that COPD
                                                                                                                          exacerbation could be
                                                                                                                          contributing.
                                                                                                                                 Continue
                                                                                                                                 Norvasc,
                                                                                                                                 atenolol for
                                                                                                                                 hypertension
                                                                                                                                 A Fib well rate
                                                                                                                                 controlled at
                                                                                                                                 present,
                                                                                                                                 continue
                                                                                                                                 atenolol,
                                                                                                                                 continue
                                                                                                                                 telemetry
                                                                                                                                 Anti-coagulation
                                                                                                                                 as discussed
                                                                                                                                 above
                                                                                                                                 w/unfractionated
                                                                                                                                 heparin – and
                                                                                                                                 ultimately
                                                                                                                                 transition to
                                                                                                                                 DOAC
                                                                                                                                 Echo to assess
                                                                                                                                 LV function, LA
                                                                                                                                 size, etiologies
                                                                                                                                 for a fib
                                                                                                                       G. ID: Currently febrile.
                                                                                                                          COPD flare presumed
                                                                                                                          associated with acute
                                                                                                                          bronchitis.
                                                                                                                                 Treatment as
                                                                                                                                 under
                                                                                                                                 pulmonary
                                                                                                                       x. Disposition: Anticipate
                                                                                                                          discharge 3-4 days.
                                                                                                                          May need rehab stay
                                                                                                                          depending on
                                                                                                                          functional status,
                                                                                                                          safety as relates to
                                                                                                                          ability to care for self
                                                                                                                          while recovering from
                                                                                                                          stroke.



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            Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 16 of 47
Exhibit C


                   Virtual Mentor
                   Ethics Journal of the American Medical Association
                   November 2005, Volume 7, Number 11


                   Health Law
                   The Importance of Standard of Care and Documentation
                   by Allison Grady

                   On first glance, the case of Conner v Ofreneo might not seem that compelling. The
                   alleged infractions took place in Chicago, Illinois, and litigation never went beyond the
                   Illinois Appellate court. But if one looks beyond its regional nature and lack of
                   precedent setting, aspects of this trial are important and interesting, especially for
                   physicians. The case was settled in favor of the defendant, Dr Danilo Ofreneo, during
                   the original jury trial. The decision was later affirmed by the appellate court. Yet the
                   case should serve as a warning to all physicians: adherence to practice standards of
                   care and documentation are essential and should not be compromised without good
                   reason.

                   On February 5, 1980, Deborah Conner took her daughter, Karla (whose age is never
                   disclosed in the appeals court's opinion), to Chicago's Uptown Clinic. Karla had been
                   experiencing excessive thirst, slurred speech, abdominal pain, rapid weight loss, and
                   significant bladder activity [1]. At the clinic, the Conners met with Dr Danilo Ofreneo
                   who spent 15-20 minutes with Karla, during which time she was unresponsive to his
                   questions. Dr Ofreneo did not document any medical history or record any allergies or
                   immunizations; he stated during his testimony that Karla's history was within “normal
                   limits” [1]. Unsure of a definitive diagnosis, Dr Ofreneo ordered blood tests and
                   several x-rays. After the tests were completed he told Ms Conner to call him if
                   anything new developed and to check with the office in about 3 days for the test
                   results. Dr Ofreneo conceded to the court that he did not tell the Conners when to
                   return to the office [1]. Concerned about Karla's worsening condition, Ms Conner
                   took her to Children's Memorial Hospital later that same day where she was examined
                   and had tests run by the hospital staff. It was found that her glucose level was 1126
                   (compared to the normal level of 126), and she was diagnosed with dehydration, poor
                   circulation of blood to the brain, severe metabolic acidosis, and complications of
                   diabetic ketoacidosis (DKA) [1]. The ketone levels of her urine and her dehydration
                   were discovered when the treating doctor learned by taking Karla's history of her rapid
                   weight loss, increased sleeping, and intense drinking and ran tests to uncover an
                   explanation for these symptoms [1]. Karla was treated for dehydration, acidosis, and
                   high ketone levels [1]. Treating the dehydration and DKA simultaneously was
                   complicated, and the procedures to correct both were high risk. Karla experienced
                   heart failure during the treatment phase and later died. The official cause of her death
                   was listed as cardiorespiratory arrest that caused irreversible brain damage [1].
                   Following the death of her daughter, Deborah Conner sued Dr Ofreneo for medical
                   malpractice and Children's Memorial Hospital, with whom she settled out of court.




                                                                       Virtual Mentor, November 2005
                                                                                                      756
Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 17 of 47




       This case is important for 2 reasons. First, it brings attention to the role of standard of
       care. Standard of care can be defined as “…not a guideline or list of options; instead, it
       is a duty determined by a given set of circumstances that present in a particular patient,
       with a specific condition, at a definite time and place” [2]. In other words, standard of
       care is sensitive to time, place, and person. This is a challenge to physicians who try to
       adhere strictly to clinical guidelines because the absence of absolute standards forces
       physicians to make judgments that may prove in hindsight to have been incorrect.

       In this case, it appears that Dr Ofreneo missed the typical signs and symptoms of
       DKA. Patients afflicted with DKA typically present with “nausea, vomiting, and
       particularly in children, abdominal pain” [3]. Dr Ofreneo's decisions not to test the
       patient's glucose level or do a urinanalysis also proved to be poor decisions. A
       prominent medical manual states that “a presumptive bedside diagnosis is justified if
       the patient's urine or blood is strongly positive for glucose and ketones” [3]. Had
       Ofreneo performed these simple tests he would have found that Karla's glucose level
       of 1126 was almost 10 times the norm, but instead he claimed that “Karla had no
       signs or symptoms specifically indicating that condition [DKA]” [1]. Although the jury
       found that Ofreneo had not deviated from standard of care, the symptoms that Karla
       was experiencing were identical to those of DKA, and it seems that he did not make
       the best medical treatment decisions. In his article, “A Model for Validating an
       Expert's Opinion in Medical Negligence Cases,” Howard Smith reminds doctors that
       “the standard of care is a measure of the duty practioners owe patients to make
       medical decisions in accordance with any other prudent practioner's treatment of the
       same condition in a similar patient” [2]. This definition of standard of care, coupled
       with the ability of the physicians at Children's Medical Hospital to affirmatively
       diagnosis Karla based on an interview and routine tests, suggests that Ofreneo was not
       as diligent as he should have been.

       The second aspect of medical care that this case highlights is the need for a physician
       to document a patient history thoroughly. Documentation is important, secondarily,
       for the legal protection that it affords. The primary purpose of the documentation is
       to provide the physician with a record of a patient's history and other details that he or
       she might not otherwise remember between visits. In a recent Student BMJ article, the
       author explains that “the patient's narrative gives important clues as to the diagnosis
       and the patient's perspective…”[4]. In this case, even though Karla was
       nonresponsive, her mother would have been able to fill in some of the history. Karla's
       own lack of response might also have been indicative of more serious health
       problems.

       Taking a complete history is not always possible, especially in an urgent care situation,
       but a diligent effort should be made to engage both the patient and the patient's
       caregiver. Histories do not serve simply as footnotes in a chart but should be ongoing
       conversations with the patient or the patient's caregiver so that the physician can
       establish patterns and trends and provide the best possible treatment course. In taking
       a history, the physician listens to the patients' past medical experiences and hears how
       the patients perceive their own illnesses. As stated in the Student BMJ article, “to a large
       extent, this means making sense of the symptoms that the patient presents with...You


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                                                                                            757
Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 18 of 47




       can attempt to link the symptoms to the diagnosis” [4]. A verbal exchange with the
       patient, however, is not the only responsibility of a doctor. Physicians must also write
       down the responses of the patient as well as their own medical impressions of a
       particular situation. Ofreneo did not document allergies, past illnesses, or vaccinations
       that might have provided clues about Karla's current condition [1]. As a result he was
       forced to give testimony from memory. Luckily for him, the jury found that this
       shortcoming was not a significant factor in Karla's death.

       Ethical, as opposed to legal, responsibility might rest at least in part on Dr Ofreneo.
       His failure to recognize some of the obvious symptoms of DKA may have
       contributed to pushing Karla's illness to a critical level. The jury found that he did not
       deviate enough from the accepted standard of care to be legally liable, but he seems to
       have failed in his professional obligation to recognize and treat a serious illness. The
       professional duties of a physician extend beyond the clinical encounter. Physicians
       must effectively communicate with the patient, his or her caregivers, and other
       members of a patient care team. Dr Ofreneo's failure to accomplish this puts him in a
       compromised ethical position.

       Based on the court records, Dr Ofreneo is lucky that his defense was presented to a
       sympathetic jury. His professional conduct with Karla Conner appears to have met
       minimal basic standards, and his medical decision making seems to have been weak, at
       best. It is vital that physicians learn from this case that they must be aware of the
       symptoms and patterns that a patient has been experiencing—information often best
       gathered via a complete medical history and a thorough exam. Physicians should also
       adhere closely to standards of care as a general rule and, before deviating from them,
       be convinced that the planned departure is soundly justified.

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                                                                     Virtual Mentor, November 2005
                                                                                                         758
                       Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 19 of 47
Exhibit D




                                                                                                                                                   October 2006
    The Swollen Extremity: A                                                                                                     Authors
                                                                                                                                                  Volume 8, Number 10


    Systematic Approach To The                                                                                                   Veronica Hlibczuk, MD, FACEP
                                                                                                                                 Attending Physician, Emergency Medicine, Assistant

    Evaluation Of A Common                                                                                                       Clinical Professor, Columbia University Medical
                                                                                                                                 Center, New York Presbyterian Hospital, New York,
                                                                                                                                 NY.

    Complaint                                                                                                                    Muhammad Waseem, MD
                                                                                                                                 Attending Physician, Emergency Medicine (Clinical
                                                                                                                                 Pediatrics), Assistant Clinical Professor, Weill
         It is another busy night in the emergency department; five admitted patients                                            Medical College of Cornell University, Lincoln
    are waiting for beds and three patients are waiting for CT scans. Space and                                                  Medical & Mental Health Center, Bronx, NY.
    resources are limited. Your next patient is an obese, 35-year-old, female visitor                                            Alexis Nguyen, MD
    from Australia with no known medical problems. She tells you that she never                                                  Attending Physician, Emergency Medicine, Cabrini
                                                                                                                                 Medical Center, New York, NY.
    comes to the emergency room, but decided to come in tonight because the pain in
    her right leg was keeping her awake. She has had mild to moderate pain in both                                               Peer Reviewers
    knees “for a long time,” but for the last two days her right lower leg has been pro-                                         Marie-Carmelle Ellie, MD
    gressively painful and swollen. She has been staying off her feet and taking                                                 Assistant Professor, Division of Emergency
    ibuprofen, but the pain and swelling are not getting better. She also complains of a                                         Medicine, Division of Critical Care, Director of
                                                                                                                                 Emergency Critical Care, UMDNJ-University
    mild discomfort in her chest which she can not characterize. Her blood pressure is                                           Hospital, Scotch Plains, NJ.
    140/90 mmHg, pulse is 100, respiratory rate is 20, temperature is 37.2°C, and her
                                                                                                                                 Nicholas Genes, MD, PhD
    pulse oximetry is reading 95%. You note that her right ankle is diffusely red,                                               Mount Sinai Emergency Medicine Residency, New
    swollen, and painful; her right calf measures 28 cm and her left calf measures 25                                            York, NY.
    cm; her thighs are equal in size and there is no Homans’ sign or palpable cords.                                             JP Rohde, MD, FAAEM
    Once again, you find yourself faced with the recurrent clinical decision of pursu-                                           Assistant Professor Emergency Medicine, Vanderbilt
    ing cellulitis vs DVT vs DVT plus PE and must decide how to best utilize your                                                University Medical Center, Franklin, TN.
    resources while providing quality emergency care. You order a diagnostic test . . .                                          CME Objectives
                                                                                                                                 Upon completion of this article, you should be able to:
                                                                                                                                 1. Discuss the potential causes of a swollen

    P    atients presenting to the emergency department (ED) with a
         swollen extremity can be a diagnostic challenge. The differen-
    tial diagnosis is vast and includes a wide range of diseases from the
                                                                                                                                    extremity.
                                                                                                                                 2. Describe the imaging tests available to determine
                                                                                                                                    the diagnosis for a swollen extremity.
                                                                                                                                 3. Discuss risk factors for deep venous thrombosis.
    benign to the potentially life threatening. As an emergency physi-                                                           4. Evaluate, diagnosis, and treat the patient present-
                                                                                                                                    ing with a swollen extremity.
    cian, it is crucial to consider all of the dangerous causes of a
    swollen extremity and to prioritize your diagnostic tests. The histo-                                                              Date of original release: October 1, 2006
                                                                                                                                    Date of most recent review: September 23, 2006
    ry and physical exam may reveal the cause to be related to previous                                                             See “Physician CME Information on back page.
    trauma, surgery, systemic disease, infection, malignancy, or radia-

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          Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 20 of 47
tion therapy. Once a working diagnosis is made,             Epidemiology, Etiology, Pathophysiology
appropriate treatment can be initiated. This issue of
                                                            A swollen extremity is a frequent ED presentation
Emergency Medicine Practice provides a systematic
                                                            and is usually associated with a large list of potential
review of the diseases that present with a chief com-
                                                            etiologies. Patients may complain of unilateral or
plaint of “swollen extremity” and provides a cost-
                                                            bilateral swelling of the arms or legs. The swelling
effective approach to guide in the selection of diag-
                                                            may be acute or chronic, painful or painless.
nostic tests to aid in clinical decision-making.
                                                                 Edema occurs when there is excessive accumula-
                                                            tion of fluid in the tissues. Swelling of the extremity
Critical Appraisal Of The Literature                        results when a physiologic imbalance occurs
A literature search was performed using Ovid MED-           between fluid pressure, oncotic pressure, capillary
LINE and PUBMED. Searches included articles on              permeability, or lymphatic obstruction. The physio-
deep venous thrombosis, cellulitis, chronic venous          logic forces responsible for maintaining homeostasis
insufficiency, acute compartment syndrome, necrotiz-        is described in Starlings Law; see Figure 1.
ing fasciitis, and edema. This search provided an                Total body water is divided between the intracel-
enormous number of studies ranging from case series         lular and extracellular spaces. The extracellular
to well-designed, randomized, double-blinded stud-          space, which comprises about one third of total body
ies. In addition, the Cochrane Database of Systemic
Reviews was searched for updates on current man-
agement recommendations for deep venous thrombo-
sis, cellulitis, and chronic venous insufficiency.
Another source of information was the National
Guideline Clearinghouse at www.guidelines.gov,
which was created by the US Department of Health
and Humans Services’ Agency for Healthcare
Research and Quality (AHRQ) in partnership with
America’s Health Insurance Plans (AHIP). This site
provided guidelines published by the Infectious
Diseases Society of America (IDSA) and the American
College of Radiology (ACR), among others.


Abbreviations Used In This Article                          water, is composed of the intravascular plasma vol-
                                                            ume (25%) and the extravascular interstitial space
    CBC – Complete Blood Count                              (75%). Starling defined the physiologic forces
    CRP – C-reactive Protein                                involved in maintaining the balance of water
    DVT – Deep Venous Thrombosis                            between these two compartments which include the
    ECG – Electrocardiogram                                 gradient between intravascular and extravascular
    ELISA – Enzyme-Linked ImmunoSorbent Assay               hydrostatic pressures, differences in oncotic pres-
    ESR – Erythrocyte Sedimentation Rate                    sures within the interstitial space and plasma, and
    LMWH – Low Molecular Weight Heparin                     the hydraulic permeability of the blood vessel wall.
    LRINEC – Laboratory Risk Indicator for
        Necrotizing Fasciitis                                   There are five common mechanisms of edema
    MRSA - Methicillin Resistant Staphylococcus             formation:
        Aureus                                               1. Plasma volume expansion: Because interstitial
    ORIF – Open Reduction and Internal Fixation                 tissue easily accommodates several liters of fluid,
    PCT – Procalcitonin                                         a patient’s weight may increase nearly 10%
    SVC – Superior Vena Cava                                    before pitting edema is evident. The source of
    UFH – Unfractionated Heparin                                this expansion is the blood plasma. Because the
    VTE – Venous Thromboembolism                                volume of normal blood plasma is only about
    WBC – White Blood Cell                                      3 L, the diffusion of large amounts of water and
                                                                electrolytes into the interstitial space necessitates


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           Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 21 of 47
     the renal retention of sodium and water to main-            see Table 2. In these cases, the diagnosis can often be
     tain hemodynamic stability. Hence, blood vol-               made based on temporal association with drug
     ume and normal osmolality are maintained                    administration and the exclusion of other potential
     despite movement of large amounts of fluid into             acute causes of edema. Stopping these medications
     the extravascular space.                                    often returns extremities to normal.
 2. Increased venous pressure/capillary hydrostatic
     pressure: In addition to an expansion in plasma             Prehospital Care
     volume, increased venous pressures due to cen-
     tral or regional venous outflow obstruction is a            Non-traumatic extremity swelling is an uncommon
     process that causes pressure to be transmitted to           cause for EMS activation. However, pain or inability
     the capillary bed thereby increasing hydrostatic            to ambulate may prompt a 911 call, placing the pre-
     pressure and predisposing to edema.                         hospital provider in a critical triage role. The EMS
 3. Decreased plasma oncotic pressure: Albumin is                provider must identify those causes of a swollen
     important for maintaining plasma oncotic pres-              extremity that require transport to a specialized cen-
     sure; low plasma albumin results in a decreased             ter. For example, a swollen extremity with no pulse
     plasma oncotic pressure and filtration out of the           should go to a hospital with a vascular service.
     capillary. Edema is often seen when the albumin             Likewise, a swollen extremity with ecchymosis and
     level falls below 2 g/dL of plasma.1                        bullae must go to a hospital that can provide imme-
 4. Increased capillary permeability: Changes in                 diate surgical intervention for necrotizing fasciitis.
     capillary wall permeability are mediated by                      Extremity injuries should be splinted in the field
     cytokines such as tumor necrosis factor, inter-             before patient transport to prevent excessive frac-
     leukin 1, and interleukin 10, by circulating                ture-site motion or to reduce pain in a dislocated
     vasodilatory prostaglandins and nitric oxide, and           joint. Assessment of the limb’s neurovascular status
     by chemical mediators including histamine,                  must be made before and after application of the
     leukotrienes, and complement. These factors                 splint or realignment of a fracture. Application of
     allow for the leakage of capillary proteins and             splints should be applied as soon as possible, but
     fluid into the interstitium. Increased vascular             they must not take precedence over resuscitation.
     permeability is central to edema resulting from                  Emergency transport personnel can also be use-
     local inflammation, infection, allergic reactions,          ful in providing information to the ED staff regard-
     and burns.                                                  ing the injury such as the mechanism of injury, time
 5. Lymphatic obstruction: Normally, filtration of               frame, and delays in extrication or transport. By elic-
     fluid out of capillaries is slightly greater than           iting the mechanism of injury, suspicion may be
     absorption of fluid into the capillaries. The               raised of other injuries not immediately apparent.
     excess filtered fluid is returned to circulation via
     the lymph channels. Interstitial fluid enters the           ED Evaluation
     lymph channels via unidirectional flow through
                                                                 Initial Assessment
     one-way valves. Edema forms when the volume
                                                                 When a patient presents to the ED for the evaluation
     of interstitial fluid exceeds the ability of the lym-
                                                                 of a swollen extremity, the triage nurse must be
     phatics to return it to the circulation. Conditions
                                                                 aware of certain life or limb threatening conditions
     such as lymph node resection after cancer sur-
                                                                 which require emergent evaluation by the emergency
     gery, filariasis, or lymphoma impair clearance
                                                                 physician. In addition to obtaining a set of vital
     fluid from the interstitial space by the lymphatic
                                                                 signs, the triage nurse should be on the alert for
     system.
                                                                 patients who present with concerning symptoms or
                                                                 signs, e.g., a swollen leg with shortness of breath
Differential Diagnosis                                           (pulmonary embolism), a swollen extremity with
The differential diagnosis for extremity swelling is             ecchymosis and bullae or subcutaneous air (necrotiz-
extensive because numerous entities cause disrup-                ing fasciitis), or a swollen extremity with pain and
tion of the aforementioned physiologic balance of                pallor (compartment syndrome).
fluid distribution; see Table 1. Often times the gener-               In trauma patients, it is important to completely
alized swelling may be due to common medications;                undress the patient and to note the color of the
                                                                 extremity as well as the presence of pulses. This is

EBMedicine.net • October 2006                                3                            Emergency Medicine Practice©
            Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 22 of 47

                        Table 1. Differential Diagnosis Of The Swollen
                      Extremity Categorized By Physiologic Mechanisms
             Physiologic Mechanism                                    Associated Condition
  Increased plasma volume                    Generalized body swelling141
                                             Heart failure
                                             Renal failure
                                             Nephrotic syndrome142
                                             Cirrhosis/ liver failure143
                                             Cor pulmonale/COPD144
                                             Medications (see Table 2)
                                             Pregnancy
                                             Premenstrual edema145
                                             Secondary aldosteronism146

  Increased capillary hydrostatic pressure   Systemic venous pressure (generalized body swelling)
                                             Restrictive cardiomyopathy
                                             Constrictive pericarditis147
                                             Tricuspid valvular disease
                                             Regional venous pressure (often unilateral)
                                             Superior vena cava syndrome
                                             Inferior vena cava/iliac vein compression syndrome148
                                             Pelvic masses (ovarian cancer, prostate cancer, uterine fibromas, retroperi-
                                             toneal fibrosis)149, 150, 151
                                             Deep venous thrombosis152
                                             Superficial thrombophlebitis
                                             Trauma (hematoma, ruptured gastrocnemius, or Achilles tendon)153
                                             Chronic venous insufficiency154
                                             Compartment syndrome155
                                             Popliteal (Baker's) cyst156
                                             Reflex sympathetic dystrophy (RSD)157
                                             Pseudoaneurysm158

  Decreased plasma oncotic pressure          Reduced albumin synthesis (generalized or bilateral lower extremity
                                             swelling)
                                             Malnutrition (e.g. kwashiorkor)
                                             Malabsorption
                                             Cirrhosis/ liver failure
                                             Albumin loss (generalized or bilateral lower extremity swelling)
                                             Preeclampsia159
                                             Glomerulonephritis
                                             Malabsorption
                                             Burns160
                                             Inflammatory bowel disease (IBD)

  Increased capillary permeability           Generalized, bilateral, or unilateral extremity swelling
                                             Allergic reactions (hives, serum sickness, angioedema)
                                             Infection (cellulitis, osteomyelitis, abscess, septic arthritis)
                                             Vasculitis (erythema nodosum)161
                                             Inflammatory (burns, arthritis, sprain)
                                             Interleukin 2 therapy162

  Lymphatic obstruction                      Bilateral or unilateral extremity swelling
                                             Iatrogenic (postsurgical or radiation)163, 164
                                             Nodal enlargement due to malignancy (especially prostate cancer and lym-
                                             phoma)
                                             Filariasis165
                                             Primary lymphedema166

  Other                                      Generalized or bilateral extremity swelling
                                             Idiopathic edema167
                                             Hypothyroidism/pretibial myxedema168
                                             Lipidema169




Emergency Medicine Practice©                          4                                 October 2006 • EBMedicine.net
           Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 23 of 47
particularly important in patients who are non-                a systemic inflammatory response as demonstrated
responsive or intoxicated. If significant injury is sus-       in a prospective study of 311 patients in which a tem-
pected, the extremity should be monitored for com-             perature greater than or equal to 37.8°C was reported
partment syndrome.                                             to be present in 14% of patients diagnosed with PE.3
                                                                    A respiratory rate of 20 per minute or more,
History                                                        and/or a heart rate of greater than 100 beats per
Extremity swelling is due to a wide range of causes            minute can be present in a wide variety of condi-
including systemic illnesses, local conditions, and            tions. This can be seen in heart failure, liver failure,
medications. The diagnosis can be narrowed by cate-            cor pulmonale, renal failure, fever, dehydration, and
gorizing the edema according to its duration (acute            pain. The onus is always on the emergency physician
or chronic) and distribution (unilateral or bilateral,         to find the etiology of an abnormal vital sign and to
upper or lower extremity). Table 3 provides a list of          never discharge a patient with an unexplained
relevant questions that may be helpful in focusing on          abnormality. Tachycardia and tachypnea are fre-
the likely etiology of a swollen extremity. Relevant           quently found in PE and should be suspected in
questions pertain to the patient’s underlying medical          patients with these findings.4
condition. Other historical details are also helpful.               Hypertension in an edematous, pregnant patient
                                                               is a concern because of the risk of preeclampsia,
Physical Examination
                                                               which affects 2 to 7% of healthy nulliparous women
Vital Signs: Initial abnormal vital signs may provide
                                                               in the US. However, edema is so prevalent in nor-
clues to a swollen extremity. For example, the pres-
                                                               mal pregnancies that it has been dropped from the
ence of fever may point toward an infection such as
                                                               current definition of preeclampsia.5 Mild edema is
cellulitis, abscess, osteomyelitis, or septic joint.
                                                               likely to be benign, but sudden, severe, generalized
However, an elevation in temperature is not a reli-
                                                               edema, associated with hypertension in a pregnant
able indicator of infection in elderly patients. One
                                                               patient, raises concern. Gestational hypertension is
Canadian study on the ED management of cellulitis
                                                               defined as a systolic BP of at least 140 mmHg and/or
in the elderly showed that fever of greater than
                                                               diastolic BP of at least 90 mmHg on at least two
37.8°C was present in only 7% of patients.2 Patients
                                                               occasions at least six hours apart after the 20th week
with DVT/PE can also present with fever caused by
                                                               of gestation in a previously normotensive woman.

                Table 2. Medications That Cause Bilateral Swollen Extremities
                Medication Type                                          Class of Medication

  Psychiatric medications                         Monoamine oxidase inhibitors
                                                  Antipsychotics (olanzapine)170

  Antihypertensive medications                    Calcium channel blockers (nifedipine, felodipine, amlodipine,
                                                     verapamil, diltiazem)171, 172
                                                  Direct vasodilators (hydralazine, minoxidil, diazoxide)
                                                  Beta-blockers
                                                  Antiadrenergics (clonidine, reserpine, methyldopa) 173

  Hormones                                        Estrogens/progesterones, testosterone, corticosteroids

  Pain relief medications                         NSAIDs 174
                                                  Nonselective cyclooxygenase inhibitors
                                                  Selective cyclooxygenase-2 inhibitors 175

  Diabetic medications                            Thiazolidinediones (rosiglitazone, pioglitazone)176, 177

  Chemotherapy                                    Gemcitabine, docetaxel178, 179




EBMedicine.net • October 2006                              5                            Emergency Medicine Practice©
          Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 24 of 47
Preeclampsia is defined as gestational hypertension            patient’s serum protein level. Palpable abdominal or
with proteinuria (300 mg or more in a 24 hour urine            pelvic masses may cause external venous or lym-
collection). Two urine dipsticks with 1+ for protein           phatic compression. In these cases, ovarian cancer or
done at least six hours apart are also suggestive of           prostate cancer should be suspected.
proteinuria, but a 24 hour urine collection remains
the gold standard.6                                            Upper/Lower Extremity Examination: Patients with
                                                               swelling presenting with a cast or bandage should
Cardiopulmonary And Abdominal Examination:                     have it removed immediately in order to reduce
Patients, especially those with age greater than 45 or         external compression and provide full exposure.
those who have a history of hypertension, coronary             Note whether the distribution is unilateral or bilater-
artery disease, or congestive heart failure, should            al, localized or diffuse. Assess for warmth and ten-
receive a cardiopulmonary and abdominal examina-               derness as well as whether the skin is tense, firm,
tion. Rales, jugular venous distension, systolic mur-          doughy, thickened, erythematous, or hyperpigment-
mur, or pericardial friction rub on exam indicate a car-       ed. The presence of fluctuance, pulsations, and crepi-
diac etiology. An electrocardiogram (ECG) may also             tus are additional findings that may direct a diagno-
provide additional clues to a cardiac cause. For exam-         sis. Finally, a determination of whether the edema is
ple, evidence of an inferior wall myocardial infarction        pitting or non-pitting may help to distinguish vascu-
may suggest right sided failure as an etiology and             lar (pitting) from lymphatic (non-pitting) pathologies.
explain why the patient has no pulmonary findings.                  Arm swelling may occur alone or in conjunction
     Performing an abdominal exam on a patient who             with facial swelling or jugular venous distension, as
has a history of chronic alcohol use, cirrhosis, or hep-       in the case of superior vena cava (SVC) syndrome.
atitis is necessary. Shifting dullness on abdominal            The veins of the upper extremity are distended in 60
exam, fluid wave in abdominal exam, spider                     to 70% of patients with SVC syndrome.7 For acute
angiomas, or jaundice all point to liver disease and           unilateral calf swelling, it is essential to consider
will prompt laboratory testing to investigate the              deep venous thrombosis. Physical findings include

                     Table 3. Key Questions For History Of Present Illness
              Key Questions                                              Possible Etiologies
 Sudden onset of pain?                            Muscle or tendon rupture, musculoskeletal injury, vascular
                                                    catastrophe
 Associated shortness of breath?                  Congestive heart failure, SVC syndrome, deep venous
                                                    thrombosis (with associated pulmonary embolism)
 Associated fever?                                Cellulitis, septic thrombophlebitis, deep venous thrombosis,
                                                    necrotizing fasciitis
 Recent prolonged travel?                         Travel-related deep venous thrombosis
 Recent surgery?                                  Deep venous thrombosis, post-surgical infection
 Recent trauma or trauma in the past?             Contusions, tendon or muscle rupture, compartment
                                                    syndrome, deep venous thrombosis, hematoma, reflex
                                                    sympathetic dystrophy
 Recent or current pregnancy?                     Deep venous thrombosis, preeclampsia
 Any current use or past use of a blood thin-     Deep venous thrombosis, compartment syndrome in the
 ner?                                               setting of trauma (with current use of anticoagulants)
 Any history of cancer?                           Deep venous thrombosis, external venous compression from
                                                    a tumor (ovarian or prostate), lymphatic obstruction (can
                                                    occur years after cancer surgery)
 Any current use of antibiotics?                  Cellulitis or abscess complicating failed treatment of minor
                                                    skin infection
 Have you recently started a new medication?      A long list of culprits; see Table 2
 Did you recently come from a developing          Filariasis, a parasitic infection transmitted by mosquitoes,
 country?                                           affects more than 120 million people worldwide.185



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          Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 25 of 47
unilateral swelling, tenderness, warmth, palpable             of 90%, a specificity of 76%, a positive predictive
cord of a thrombosed vein, and Homans’ sign (pain             value of 26%, and a negative predictive value of 99%.
on passive dorsiflexion of the foot). When there is                 Serious bacterial illnesses may also present with
clinical suspicion, it must be followed by an appro-          a normal WBC count, and noninfectious causes can
priate workup; see the Diagnostic Studies section.            result in an elevated WBC count. As early as 1919, it
     Other, less benign causes of lower extremity             was noted that patients with battle injuries, particu-
swelling include Achilles tendon rupture, gastrocne-          larly extremity wounds with hemorrhage, had leuko-
mius rupture, and Baker’s cyst rupture. Achilles ten-         cytosis.11 Since then, various studies have looked at
don rupture and gastrocnemius rupture are injuries            the leukocyte count and lymphocyte count in trauma
which generally occur in the setting of sports.               patients as a predictor of mortality, but the results
Perform the Thompson-Doherty test to help deter-              have been inconclusive.12-14 A study by Rainer et al
mine the diagnosis; this test involves squeezing the          sought to characterize the changes in peripheral
midportion of the calf with the patient lying in the          leukocyte counts in 20 patients over a three hour
prone position. If the Achilles tendon is torn, plantar       time period following injury. They found that gran-
flexion of the foot is absent. If the gastrocnemius is        ulocytosis, lymphocytosis, and monocytosis were
ruptured, plantar flexion is present and the pain and         evident within 40 minutes of injury and there was no
swelling involves the proximal medial portion of the          correlation with injury severity.15
calf.8                                                        Chemistry Panel: A chemistry panel may be helpful
                                                              in a variety of conditions. A patient who is suspect-
Diagnostic Studies                                            ed of having compartment syndrome from a crush
                                                              injury may have electrolyte abnormalities from rhab-
Laboratory Testing                                            domyolysis. A chemistry panel may reveal hyper-
Complete blood count (CBC): Though an elevated                kalemia and abnormal calcium and phosphorus lev-
WBC count is associated with infection, its predictive        els. Serum creatinine and blood urea nitrogen are
value for bacterial disease is low.9 However, an ele-         also useful to determine baseline renal status and
vated WBC count has been shown to help distin-                identify acute renal failure. The serum chemistry
guish necrotizing fasciitis with non-necrotizing soft         panel may also be helpful in the early recognition of
tissue infection. A study by Wall et al proposed a            necrotizing fasciitis. Wong et al devised the
simple model to serve as an adjunctive tool in diag-          Laboratory Risk Indicator for Necrotizing Fasciitis
nosing necrotizing fasciitis. The investigators report-       (LRINEC) score to help distinguish necrotizing fasci-
ed that 90% of necrotizing fasciitis patients and 24%         itis from other soft tissue infections; see Table 4.16
of non-necrotizing fasciitis patients met this model:
WBC greater than 15.4 per mm3 or serum sodium                 D-Dimer: There have been a number of studies
less than 135mmol/L.10 The model had a sensitivity            which have evaluated D-dimer testing as an aid in


              Table 4. The Labroratory Risk Indicator For Necrotiing Fasiitis19
             Laboratory Variable                              Laboratory Value and Points Assigned

  Sodium level                                    >135 mmol/L=0 points, <135 mmol/L=2 points
  Creatinine                                      <141µmol/L=0 points, >141 µmol/L=2 points
  Glucose                                         <10 mmol/L=0 points, >10 mmol/L= 1 point
  WBC count                                       <15 per mm3=0 points, 15-25 per mm3=1 point,
                                                  >25 per mm3=2 points
  Hemoglobin                                      >13.5 g/dL=0 points, 11-13.5 g/dL=1 point, <11 g/dL=2 points
  C-reactive protein                              <150 mg/L=0 points, >150 mg/L=4 points


  A score of > 6 is suspicious for necrotizing fasciitis and a score of > 8 is strongly predictive




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            Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 26 of 47
diagnosing deep venous thrombosis.17,18,19 Multiple                      deep venous thrombosis.22-26 The overall consensus is
D-dimer assays are available with differing sensitivi-                   that a patient with a low pretest clinical probability
ties and variability. A large systematic review of tri-                  and a negative D-dimer does not need further test-
als assessed sensitivity, specificity, likelihood ratios,                ing. This may not hold true in certain subpopula-
and variability among D-dimer assays.20 This review                      tions, such as the elderly. One study investigated
found that ELISAs, in particular the quantitative                        whether age has an influence on the performance of
rapid ELISA, was superior when compared to other                         the combined D-dimer and pretest clinical probabili-
D-dimer assays for sensitivity and negative likeli-                      ty in evaluating for DVT and found that this strategy
hood ratio. The quantitative rapid ELISA had a neg-                      is less useful in the elderly since it has been found
ative likelihood ratio similar to those for a normal or                  that D-dimer levels increase with age.27
near-normal lung scan or negative duplex ultra-                               There have also been studies evaluating D-dimer
sonography in patients with suspected deep venous                        testing as a diagnostic strategy for follow-up after an
thrombosis or pulmonary embolism. Based on these                         initial normal proximal vein ultrasonography. A ran-
results, a negative, quantitative, rapid ELISA is as                     domized, multicenter study with 810 patients evalu-
diagnostically useful as a normal lung scan or a neg-                    ated patients with suspected deep venous thrombo-
ative duplex ultrasonography in ruling out DVT or a                      sis and normal results on proximal vein ultrasonog-
pulmonary embolism.                                                      raphy comparing D-dimer testing with repeat ultra-
     However, D-dimer should not be used alone in                        sonography after one week. They found that D-
diagnosing or excluding deep venous thrombosis.                          dimer testing followed by no further treatment if the
The physician should first estimate the pretest clini-                   result was negative and venography if the result was
cal probability of DVT. Wells et al devised a modi-                      positive did not differ from withholding anticoagu-
fied scoring system that is based on objective criteria                  lant therapy and repeating ultrasonography after one
in quantifying the pretest clinical probability for                      week.28 The authors stated that Doppler ultrasonog-
DVT; see Table 5.21 They concluded that DVT can be                       raphy of the distal (calf) deep veins is more difficult
ruled out in a patient who is judged clinically unlike-                  to perform and less than 20% of symptomatic deep
ly to have DVT and who has a negative D-dimer and                        venous thromboses are confined to the distal veins.
ultrasound testing. There have been a number of                          They also stated that there is a very low risk of distal
studies that have assessed the combination of D-                         deep venous thrombosis extending into the proximal
dimer and the pretest clinical probability score for                     veins, and when this does occur, it does so within


     Table 5. Wells et al Clinical Model For Predicting Pretest Probability For DVT24
                                           Clinical Characteristic                                                          Score

  Active cancer (patient receiving treatment for cancer within previous the 6 months or                                        1
  currently receiving palliative treatment)
  Paralysis, paresis, or recent plaster immobilization of the lower extremities                                                1
  Recent bedridden for greater than 3 days or major surgery within the previous 12                                             1
  weeks requiring general or regional anesthesia
  Localized tenderness along the distribution of the deep venous system                                                        1
  Entire leg swollen                                                                                                           1
  Calf swelling at least 3 cm larger than that on the asymptomatic leg                                                         1
  (measured 10 cm below tibial tuberosity)
  Pitting edema confined to the symptomatic leg                                                                                1
  Collateral superficial veins (nonvaricose)                                                                                    1
  Previously documented deep-vein thrombosis                                                                                    1
  Alternative diagnosis at least as likely as deep-vein thrombosis                                                             -2

  A total score of two or higher indicates that the probability of deep-vein thrombosis is likely; a total score of less than two indicates
  that the probability of deep-vein thrombosis is unlikely. In patients with symptoms in both legs, use the more symptomatic leg.



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           Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 27 of 47
one week of presentation. Their results showed that             tion, biopsy, or ulcer curettage are obtained for cul-
venous thromboembolism occurred in 1% of patients               ture rather than a wound swab specimen.
with a negative D-dimer result.
     While D-dimers are widely measured when                    Acute Phase Reactants (ESR, CRP, PCT): The acute
there is a clinical suspicion of deep venous thrombo-           phase reactants are proteins produced by hepato-
sis, they are, however, not specific to thrombotic con-         cytes and other cell types in response to infection,
ditions. There are a number of nonthrombotic condi-             inflammation, and tissue injury. These reactants are
tions where D-dimer levels are elevated, such as dis-           nonspecific and nonsensitive for identifying individ-
seminated intravascular coagulation, sepsis, preg-              ual disease entities. Acute phase reactants include
nancy complications, major surgery, and malignant               erythrocyte sedimentation rate (ESR), C-reactive pro-
disease.29 In conclusion, D-dimer levels in combina-            tein (CRP), and procalcitonin (PCT).
tion with the pretest clinical probability of deep                   ESR is one of the more commonly measured
venous thrombosis appears to be an effective strate-            acute phase reactants in the ED. It remains useful
gy when deciding the further workup and manage-                 mostly for the diagnosis of a few conditions, such as
ment of a patient with a swollen extremity.                     temporal arteritis, polymyalgia rheumatica, rheuma-
                                                                toid arthritis, septic arthritis, and toxic synovitis. An
Blood and Tissue Cultures: Blood and tissue cultures            extreme elevation of ESR (greater than 100 mm/hr)
may be useful in some infective diseases, but not all.          is strongly associated with a more serious underly-
For instance, there are multiple studies that conclude          ing disease such as infection, collagen vascular dis-
that blood cultures are not necessary in community-             ease, or metastatic malignancy.37 If the ESR is greater
acquired cellulitis.30,31 Mills et al reviewed the evi-         than 25 mm/h, patients have a greater risk for septic
dence of whether blood cultures were necessary in               arthritis. High-risk patients with suspected clinical
adults with cellulitis by searching Ovid MEDLINE                findings should have the involved joint aspirated
(1966 to present) which yielded 122 research arti-              and cultured. However, in low-risk patients with a
cles.32 Of these, five articles addressed the question          non-elevated ESR, the patient may be closely
specifically. After reviewing the articles, the authors         observed instead. In this instance, the ESR can help
concluded that blood cultures do not significantly              distinguish a high-risk from a low-risk patient.
alter treatment or aid in diagnosing the microbial                   C-reactive protein concentrations tend to
organism in acute adult cellulitis in normal immuno-            increase with acute infections and CRP levels may
competent adults.                                               help suggest the severity of the inflammation or tis-
     Opinion differs for non-perineal cutaneous                 sue injury.38 CRP is not helpful in distinguishing cel-
abscesses. While there are some studies that suggest            lulitis from DVT as there are studies showing that
there is a role for culture and sensitivity of pus sam-         CRP levels are elevated in both conditions.39,40
ples, the Infectious Diseases Society of America                     PCT is an acute phase reactant that may be more
(IDSA) states that, in cases of simple abscesses, cul-
tures are not necessary as the bacterial agent is usual-          Table 6. Infectious Disease Society of
ly S. aureus.33,34 For a patient presenting with a severe            America Recommendations For
infection or with a progressing infection despite                  Scenarios In Which To Obtain Blood
empirical antibiotic therapy, cultures are appropriate.                    And Wound Cultures
     The practice guidelines published by the IDSA
are expert consensus recommendations. IDSA guide-                • Signs and symptoms of systemic toxicity
lines do recommend blood and wound cultures in                   • Fever or hypothermia
                                                                 • Tachycardia [HR greater than 100 beats/min]
certain scenarios; see Table 6. The IDSA reports that,
                                                                 • Hypotension [systolic blood pressure less than
despite their recommendation to obtain cultures,                     90 mmHG or 20 mmHg below baseline]
aspiration of the skin is not helpful in 75 to 80% of            • Diffuse cellulitis
cases of cellulitis and blood cultures are rarely posi-          • Trauma; water contact; animal, insect, or
tive (less than 5% of cases). In the case of diabetic                human bites
foot infections, the recommendation is to send                   • Patients who do not respond to initial
appropriately obtained specimens for culture prior to                antibiotics
starting empirical antibiotic therapy, except in cases           • Patients who are immunocompromised
of mild infection.35,36 It is recommended that aspira-


EBMedicine.net • October 2006                               9                             Emergency Medicine Practice©
          Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 28 of 47
useful than CRP measurements. A meta-analysis                   patients who were initially believed to not need fur-
comparing serum PCT and CRP levels for markers of               ther drainage. These patients went on to need
bacterial infection found that PCT levels were more             drainage, further diagnostics, or consultation. They
sensitive and more specific than both ESR and CRP               also found that ultrasound changed the management
for differentiating bacterial from noninfective causes          of 73% of patients who were initially believed to need
of inflammation.41                                              further drainage.45 In another study, Yen et al
     In conclusion, acute phase reactant determina-             prospectively used ultrasound to evaluate 62 patients
tion has limited clinical utility in the ED. They may           with suspected necrotizing fasciitis in the ED. In this
provide some usefulness in certain circumstances,               observational study, the authors compared their
such as septic arthritis, when the diagnosis is unclear         results with pathological findings of patients who
in patients who are considered low-risk.                        underwent fasciotomy or biopsy; they reported that
                                                                ED ultrasound had a sensitivity of 88.2%, a specificity
Radiographic Studies                                            of 93.3%, a positive predictive value of 83.3%, a nega-
X-rays are a logical test to order in many patients who         tive predictive value of 95.4%, and an accuracy of
present with a painful swollen extremity, especially if         91.9% for diagnosing necrotizing fasciitis.46
there is a history of trauma. When necrotizing fasci-                The American College of Radiology (ACR) pub-
itis is in question, an x-ray study of the involved             lishes guidelines for a radiological approach to a
extremity may show gas within the involved muscle               patient with suspected upper extremity vein throm-
and surrounding soft tissue. A CT scan or MRI may               bosis.47 They recommend beginning the workup
also show changes associated with this condition.               with a chest x-ray. This is helpful to evaluate for the
      Doppler ultrasounds are commonly ordered in               presence of a mass lesion causing central venous
the evaluation of a swollen lower extremity when a              obstruction or to confirm the presence and location
deep venous thrombosis is being considered. A                   of a venous catheter. Rare entities that could be asso-
Doppler ultrasound may also reveal other findings in            ciated with extrinsic compression syndromes such as
the differential, such as a Baker cyst, popliteal artery        a cervical rib, could also be detected. The next
aneurysms, or other vascular masses. In the evalua-             appropriate test would be a Doppler ultrasound,
tion of deep venous thrombosis, lower extremity                 which would evaluate for the presence of a DVT or a
Doppler ultrasonography has replaced contrast                   proximal venous obstruction. If the Doppler ultra-
venogram as the “gold standard” for diagnosing DVT              sonography results are inconclusive, then venogra-
above the knee. Sonography is up to 97% sensitive for           phy would be the next step. Venography is still con-
detecting proximal DVT compared with 90% for                    sidered the “gold standard” for evaluating upper
venography.42 MRI, MR venography, and multidetec-               extremity veins. When further evaluation of central
tor CT also have up to 97% sensitivity in diagnosing            veins is needed for obstruction, order MRI or CT
DVT.43 While venography has been the “gold stan-                scan with contrast of the upper extremity and chest.
dard” and CT and MRI show promise, Doppler ultra-
sonography has the advantages of being less expen-              Compartment Pressure Measurement
sive, portable, non-invasive, reliable, and easy to per-        When compartment syndrome is suspected, the tis-
form.                                                           sue pressure should be measured without delay so as
      When evaluating for musculoskeletal infection, x-         to limit any possible nerve dysfunction or muscle
rays are the traditional imaging study performed. CT            death. A number of commercial model tonometers
scans and MRI can further help in delineating many              are available (such as Stryker® or ACE®) to measure
types of musculoskeletal infections. CT scanning and            the compartment pressure. The normal pressure in a
MRI provide excellent anatomic resolution and soft              muscle compartment is 0 to 10 mmHg. Capillary
tissue contrast to evaluate for cellulitis, fasciitis,          blood flow may be compromised within a compart-
abscess, myositis, and septic arthritis.44 Ultrasound           ment at pressures greater than 20 mmHg.48 The criti-
may also have a role in the diagnosis and manage-               cal level of the absolute intra-compartmental pressure
ment of patients with clinical cellulitis. A study by           remains undecided. Different studies site levels rang-
Tayal et al was performed to evaluate the effect of             ing from 30 to 50 mmHg.49 Experimental studies
diagnostic soft-tissue ultrasound on the management             have shown a wide range between individuals when
of ED patients with clinical cellulitis. They found             correlating absolute pressure levels, clinical signs,
that ultrasound changed the management of 48% of                nerve functions, and oxygen levels in the muscle.


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          Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 29 of 47
Whitesides introduced the concept that the level of             venous thromboembolism (VTE) and may be classi-
intra-compartmental pressure which causes ischemic              fied as inherited or acquired. There is a strong asso-
compromise is related to the perfusion pressure.50              ciation between cancer and the development of
The concept is similar to the CPP in brain injury: The          venous thromboembolism.53 In a cohort study by
change in pressure (Up) is the diastolic pressure               Cogo et al, the majority of DVT cases were due to
minus the intra-compartmental pressure. If the Up is            major risk factors such as immobilization, trauma, or
less than 30 mmHg and/or clinical signs are present,            recent surgery. Factors such as age greater than 60
emergent fasciotomy is recommended; for indetermi-              years and systemic lupus erythematosus also indi-
nate pressure measurements and/or early symptoms,               cate a risk for DVT.54 Of patients diagnosed with
careful and frequent reassessments are indicated.               DVT, approximately 50% have perfusion defects on
                                                                nuclear lung scanning.55
Special Conditions                                                   When considering a cause of unilateral upper

Deep Venous Thrombosis
Deep venous thrombosis (DVT) affects approximate-                  Figure 2. Stryker Intracompartmental
ly 200,000 Americans per year.51 Identifying those at                   Pressure Monitor System
risk is a major component of the risk stratification
used in interpreting tests and initiating management
for suspected DVT and pulmonary embolus; see
Table 7. It is important to assess the patient’s risk
factors for DVT, such as age, history of cancer, immo-
bilization, recent trauma or surgery, obesity, preg-
nancy, estrogenic medications, congestive heart fail-
ure, diseases that alter blood viscosity (poly-
cythemia, sickle cell disease), and inherited throm-
bophilias. Approximately 75% of patients with DVT
have at least one established risk factor.52 This means
that 25% of patients with DVT have no established
                                                                 When testing the deep posterior compartment with the Stryker intra-com-
risk factor which signifies that it is absolutely neces-         partmental pressure monitor system, insert the needle just medial and
                                                                 posterior, staying relatively superficial within the posterior tibial muscle
sary to consider the diagnosis in patients where there           belly.
is clinical suspicion of DVT.
                                                                 Reprinted from Braver, DPM, Richard. “Surgical Pearls: How To Test
     Thrombophilia (a disorder where there is a ten-             And Treat Exertional Compartment Syndrome.” Podiatry Today. 24
                                                                 September 2006. <http://ww.podiatrytoday.com/article/%2E%2E%
dency for the occurrence of thrombosis), thrombocy-              5CPODTD%5CHTML%5Cimages%5Cthumbs%5CPT%2E05%2Esurgfig
tosis, and hypercoagulable are predispositions to                1tif%2Ejpg>.



                      Table 7. Risk Factors For DVT In Ambulatory Patients

  Acquired (persistent)                               Advancing age
                                                      Malignancy
                                                      Antiphospholipid antibodies
                                                      Prior history of DVT/PE
  Acquired (transient)                                Recent surgery or major trauma
                                                      Pregnancy180, 181
                                                      Oral contraceptives/ hormone replacement therapy
                                                      Prolonged immobilization: bed rest, paralysis, travel182
                                                      Comorbidities: CHF, myocardial infarction, nephrotic
                                                         syndrome, IBD1830, 184
  Inherited                                           Antithrombin III deficiency
                                                      Proteins C and S deficiency
                                                      Factor V Leiden
                                                      Prothrombin gene mutation



EBMedicine.net • October 2006                              11                                       Emergency Medicine Practice©
               Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 30 of 47
                                                                                       of the literature reported that Homans’ sign has a sen-
  Figure 3. Lower Extremity Ultrasound
                                                                                       sitivity varying between 13 to 48% and specificity
                                                                                       from 39 to 84% in the evaluation of DVT.61 The classic
                                                                                       signs and symptoms of calf pain, edema, venous dis-
                                                                                       tension, and positive Homans’ sign occur in less than
                                                                                       one-third of patients.62
                                                                                             Inherited deficiencies of antithrombin III and pro-
                                                                                       tein C and S have been recognized for years. For
                                                                                       patients with antithrombin III deficiency, the peak age
                                                                                       of thrombosis is between 15 and 30.63 Among the
                                                                                       most important inherited disorders is factor V Leiden,
                                                                                       which is the most common cause of thrombophilia
                                                                                       and is identified in about 50% of patients with recur-
                                                                                       rent DVT. Having the prothrombin gene mutation
                                                                                       increases the risk of DVT two to four times.64 Patients
                                                                                       who develop idiopathic venous thromboembolism at
                                                                                       a young age, have recurrent thrombosis, experience
                                                                                       recurrent unexplained pregnancy loss, or have a fami-
Compression US of the right leg in (A) a patient with and (B) a patient without        ly history of thromboembolic disorders should be
common femoral vein thrombus. Note that a vein with acute thrombus demon-
strates no intraluminal echoes. Thrombus is only detected by lack of compres-          worked-up for thrombophilia.65
sion. In contrast, a normal vein is easily compressible.
                                                                                             If the patient is a female of childbearing age, it is
Reprinted from Miller, Janet Cochrane. Diagnosis of Lower Extremity Deep Vein          crucial to inquire about whether she is pregnant or
Thrombosis. Radiology Rounds. Vol 3, Issue 5.
                                                                                       has had a recent delivery or abortion. The literature
extremity swelling, venous thrombosis is generally                                     suggests that women are at greater risk for develop-
at, or near, the top of the diagnostic considerations.                                 ing venous thromboembolism postpartum than
As an indwelling catheter is a common cause, their                                     antepartum. In fact, one study reported the incidence
increased utilization for hemodialysis, chemotherapy,                                  of pregnancy-associated venous thromboembolism at
or parenteral nutrition has increased the incidence of                                 a rate of 1.25 per 1000 deliveries.66 The same study
upper extremity DVT. One registry of 592 patients                                      noticed a predilection for the left leg (74.3%). This
found that the most powerful independent predictor                                     may be due to an anatomical condition where there is
of upper extremity DVT was the presence of an                                          compression in the left iliac vein.67 Furthermore, the
indwelling central venous catheter.56 Many risk fac-                                   risk of venous thromboembolism is higher after
tors for upper extremity DVT differ from the conven-                                   cesarean section than after vaginal delivery.68
tional risk factors for lower extremity DVT. While                                           Other conditions such as abscess, Baker’s cyst,
inherited thrombophilia and cancer predispose to                                       superficial thrombophlebitis, muscle rupture, calf
upper extremity DVT, oral contraceptives did not                                       hematoma, pseudoaneurysm, cellulitis, and venous
increase the risk by itself, but did increase the risk                                 stasis may present very similar to DVT. One study
when combined with inherited thrombophilia.57                                          looked at Doppler ultrasound to further evaluate non-
Another study showed that the most frequent trig-                                      filling of contrast in deep veins on phlebography in
gering factor for patients with upper extremity DVT                                    patients with clinical signs of DVT. Ultrasound con-
was recent history of strenuous exercise of the mus-                                   firmed DVT in 31% of patients; 38% of patients had
cles in the affected extremity.58                                                      other pathology such as edema, bleedings, ligament or
     When the deep venous system of the arm or leg is                                  muscle rupture, Baker cysts, or superficial throm-
occluded by thrombosis, a patient may develop acute                                    bophlebitis. The rest of the patients showed no pathol-
pain and swelling.59,60 The exam may reveal erythema,                                  ogy. 69 Therefore, clinical assessment alone is not satis-
warmth, tenderness to palpation, and pitting edema.                                    factory for detecting the majority of cases of DVT.
Historically, the examination of the lower extremity
included the elicitation of Homans’ sign, which refers                                 Compartment Syndrome
to the development of pain in the calf or popliteal                                    Fractures, crush injuries, burns (thermal and electri-
region on forceful dorsiflexion of the ankle with the                                  cal), snakebite, and arterial injuries to any extremity
knee in flexed position. However, a systematic review                                  have the potential to cause a compartment syn-


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              Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 31 of 47
drome. Additional causes to consider in upper                                       also occur after a contusion to the thigh. It is difficult
extremity compartment syndrome are muscle avul-                                     to differentiate between a severe thigh contusion and
sion, high-pressure injection injuries, infection, and                              compartment syndrome based on clinical presentation
intravenous drug infiltration.70,71 The increase in                                 alone as both can present with severe pain and
compartmental pressure can also result in the exter-                                swelling. The compartments of the thigh are large
nal compression of the compartment from a circum-                                   and usually compliant enough to allow the expansion
ferential cast, burn eschar, or prolonged limb com-                                 of a hematoma; a large amount of bleeding in the
pression after drug or alcohol overdose. 72-76 Dozens                               potential space may occur prior to a rise in intracom-
of reports have described the development of com-                                   partmental pressure. Delayed presentation of com-
partment syndrome after strenuous exercise.77 The                                   partment syndrome from persistent muscular hemor-
exact incidence of compartment syndrome in the                                      rhage in the thigh has been described.80 Even in minor
emergency department is unknown. However, it has                                    trauma to the thigh, compartment syndrome may
been shown that approximately three-quarters of                                     present with only pain and swelling.81 The best way
cases are associated with fractures of the arm or leg,                              to objectively distinguish who needs emergent fas-
with tibial fractures having the highest association.78                             ciotomy is by compartment pressure measurements.
     The 5 P’s (pain out of proportion, pallor, parasthe-                                Compartment pressure measurements are a con-
sia, paralysis, and pulselessness) are frequently used                              sideration in a patient who is not alert or if the clini-
as a mnemonic for the signs and symptoms of com-                                    cal examination is inconclusive.82,83 The most fre-
partment syndrome. Weakness, paralysis of involved                                  quently used device is the Stryker®
muscles, pallor, or loss of pulses in the affected limb                             Intracompartmental Pressure Monitor System
are all late signs of compartment syndrome. Clinical                                (Stryker Instruments, Kalamazoo, MI); see Figure 2
diagnosis is based on the history of injury and physi-                              on page 11. Easy to use, the efficacy and accuracy of
cal signs coupled with a high index of suspicion.79                                 the device has been validated;84 however, when not
     The development of compartment syndrome can                                    available, manometer measurements using equip-
                                                                                    ment available in most EDs are an alternative.85
                                                                                         Each limb contains a number of compartments
   Figure 4. A Case of Necrotizing
                                                                                    that are at risk for compartment syndrome. Thus, all
 Fasciitis Showing Subcutaneous Air                                                 compartments of the involved extremity should be
     On Plain Film Radiograph.                                                      checked for elevated intracompartmental pressure.
                                                                                    The upper arm contains the anterior and posterior
                                                                                    compartments. The forearm has both a volar and
                                                                                    dorsal compartment. In the lower extremity, there
                                                                                    are three gluteal compartments, anterior and posteri-
                                                                                    or compartments in the thigh, and the four compart-
                                                                                    ments of the lower leg. The anterior compartment of
                                                                                    the lower leg is most frequently involved in com-
                                                                                    partment syndrome of the lower extremity.86,87
                                                                                         Resting intracompartmental pressure is normally
                                                                                    between 0 and 10 mmHg. According to animal stud-
                                                                                    ies performed by Heppenstall et al, tissue pressures
                                                                                    greater than 30 mmHg suggest impending or ongo-
                                                                                    ing muscle and nerve damage. 88 The patient’s mean
                                                                                    blood pressure should also be taken into considera-
                                                                                    tion; the lower the mean blood pressure, the lower
                                                                                    the compartment pressure that causes a compart-
                                                                                    ment syndrome.89 No absolute threshold of pressure
                                                                                    exists for determining when emergent fasciotomy is
                                                                                    indicated. Rather, the diagnosis should be made on
Reprinted from Wikibooks. “Diagnostic Radiology/Musculoskeletal                     both the physical exam and the pressure measure-
Imaging/Infection/Necrotizing fasciitis.” 24 September 2006. <http://en.wik-
ibooks.org/wiki/Diagnostic_Radiology/Musculoskeletal_Imaging/Infection/             ments. Serial exams may be indicated in cases where
Necrotizing_fasciitis>.
                                                                                    the onset time of injury is unknown and the com-


EBMedicine.net • October 2006                                                  13                             Emergency Medicine Practice©
          Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 32 of 47




Emergency Medicine Practice©             14                October 2006 • EBMedicine.net
         Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 33 of 47




EBMedicine.net • October 2006           15                  Emergency Medicine Practice©
          Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 34 of 47




Emergency Medicine Practice©             16                October 2006 • EBMedicine.net
           Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 35 of 47
partment pressures are normal, but the mechanism                Treatment And Disposition
of injury and physical exam puts the patient at risk
                                                                Musculoskeletal Trauma
for developing compartment syndrome.
                                                                Many cases of soft-tissue trauma and fractures can be
                                                                managed with pain medications, immobilization for
Soft Tissue Infection
                                                                fractures, and orthopedic follow-up after discharge
The typical signs of cellulitis are erythema, warmth,
                                                                from the emergency department. Emergent orthope-
tenderness and swelling. Most cellulitis is mild and
                                                                dic consultation is necessary for conditions that are
results from group A streptococcus or S. aureus infec-
                                                                limb threatening, involve vascular compromise or
tions. Diffuse necrotizing infections are serious and,
                                                                open fractures, or when compartment syndrome is
at times, are difficult to distinguish from simple cel-
                                                                being considered. Reduction of displaced fractures
lulitis. Foul smelling purulent discharge may present
                                                                and dislocations should be performed in the ED by
in cellulitis or necrotizing infections. Necrotizing
                                                                either the emergency physician or the orthopedic
fasciitis and clostridial myonecrosis (gas gangrene)
                                                                consult physician. The emergency physician should
should be suspected in patients who are immuno-
                                                                have a knowledge of which fractures require admis-
compromised or have peripheral vascular disease.
                                                                sion for open reduction and internal fixation (ORIF).
The earliest clinical clues include edema out of pro-
                                                                These include Monteggia and Galeazzi fracture/dis-
portion to skin erythema, skin vesicles, and crepitus.90
                                                                locations, fractures involving the articular surfaces,
Surgery/Radiation Treatment                                     displaced fractures with epiphyseal injuries known to
Lymphedema of an extremity can occur after surgery              have a propensity for growth arrest (Salter-Harris
and radiation for treatment of cancer. Lymphedema               types III and IV), and major avulsion fractures associ-
after mastectomy plus node dissection occurs in as              ated with disruption of important musculotendinous
many as 30% of patients with breast cancer, with high-          or ligamentous groups.
er rates of chronic lymphedema occurring in patients
                                                                Deep Venous Thrombosis
treated with radical mastectomy, and much lower
                                                                Historically, patients diagnosed with proximal deep
rates in patients who have only sentinel node biop-
                                                                venous thrombosis have been admitted to the hospi-
sies.91 This occurs as a result of disruption or com-
                                                                tal for anticoagulation. Patients have been initially
pression of the lymphatics. The combination of sur-
                                                                anticoagulated using unfractionated heparin and
gery and radiation is highly predictive of the occur-
                                                                then were changed to oral warfarin for continued
rence of lymophedema.92 A study by Segerstrom eval-
                                                                outpatient therapy; both which required frequent
uated six factors that may increase the likelihood of
                                                                laboratory monitoring. A Cochrane review com-
upper extremity swelling after treatment of breast can-
                                                                pared the effect of low molecular weight heparin
cer and found that being overweight, oblique surgical
                                                                (LMWH) with unfractionated heparin (UFH) for the
incision, infection in the arm, and radiotherapy corre-
                                                                initial treatment of venous thromboembolism (VTE)
lated with upper extremity swelling.93 The highest
                                                                and found that LMWH was more effective than UFH
incidences were found in patients who had received
                                                                for the initial treatment of VTE. LMWH significantly
radiotherapy in high doses (60%) and had a history of
                                                                reduced the occurrence of major hemorrhage during
one or more infections of the involved arm (89%).
                                                                the initial treatment and reduced overall mortality at
Another study found that 80% of patients who had
                                                                follow-up.96
undergone breast conserving surgery, axillary dissec-
                                                                     Another Cochrane review evaluated the efficacy
tion, and breast radiation complained of symptoms
                                                                and safety of long-term treatment of VTE with
such as extremity stiffness (41%), numbness (45.7%),
                                                                LMWH compared to vitamin K antagonists and
and swelling (14.6%).94 A study evaluated patients
                                                                found that treatment with LMWH was significantly
who received radiotherapy for extremity soft tissue
                                                                safer than treatment with vitamin K antagonists.97
sarcoma and found that edema was more frequent in
                                                                Other benefits include shortening of hospital stay, no
the postoperative arm (23.3%) than in the preopera-
                                                                laboratory monitoring required, and overall
tive arm (15.5%).95 It was also found that patients had
                                                                decreased cost of care. The Cochrane review con-
greater rates of fibrosis and joint stiffness postopera-
                                                                cluded that LMWH is possibly a safe alternative in
tively. Therefore, extremity swelling, stiffness and
                                                                those patients who reside in geographically inacces-
numbness are common sequelae to surgical and radia-
                                                                sible places, are reluctant to visit a thrombosis serv-
tion therapy in the treatment of cancer.


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          Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 36 of 47


                                        Ten Pitfalls To Avoid


1. “He has a negative Homans’ sign and I’m not                      case of body-builders. Patients on coumadin can
    impressed with the swelling.”                                   also have compartment syndrome after very little
                                                                    trauma.
   The lack of the Homan's sign is not reliable in
   eliminating DVT as a possibility. The physical                6. “I felt that the patient’s frequent requests for
   examination is only 30% accurate in patients pre-                 pain meds were simply due to a low pain toler-
   senting with DVT and should be used to increase                   ance . . . and maybe some drug seeking . . .”
   clinical suspicion of DVT, but negative exam find-
   ings cannot be used to exclude DVT as a possible                 It is a common error to believe that the patient’s
   concern.6                                                        pain is confined only to the direct injury itself.
                                                                    Pain should improve with time. If a patient has
2. “Her breast cancer is in remission and her                       increasing pain or pain out of proportion to the
    venous Doppler is negative. I’m not worried                     injury, compartment syndrome may be a
    about DVT.”                                                     concern.40

   A common pitfall is placing too much confidence               7. “Although she is a diabetic, her blood sugar is
   in a negative venous Doppler. Though it is highly                 under very good control. It seemed like a sim-
   sensitive (95%) and specific (96%) for a proximal                 ple cellulitis of the lower leg.”
   venous thrombosis, the study not does accurately
   assess calf veins. Doppler ultrasounds of distal                 Necrotizing infections are difficult to distinguish
   veins have shown sensitivity and specificity of                  from cellulitis, especially early in presentation.
   88% and 86% respectively. Also, proximal exten-                  Immunocompromised patients are susceptible to
   sion of a thrombus can occur in up to 25% of                     necrotizing infections; a high index of suspicion is
   patients with a calf DVT.140                                     necessary for early diagnosis and treatment.

3. “He told me he just banged his elbow. The x-ray               8. “He had frequent asthma attacks. I thought his
    was negative for a fracture. When I saw him for                  swelling was due to steroid use.”
    the second visit four days later, I just figured
    the pain and swelling was from the contusion.”                  Although weight gain can occur due to steroid
                                                                    use, the presence of orthopnea, pedal edema, and
   Patients presenting with cellulitis usually have a               nocturnal dyspnea are suggestive of congestive
   history of trauma or surgery causing a break in                  heart failure.
   the skin. However, some patients may have no
   signs of dermal injury. Patients with peripheral              9. “The surgery consult said they were busy. I
   vascular disease or diabetes can present with                     thought my patient with necrotizing fasciitis
   signs of cellulitis after minor injuries. It is impor-            would do well in the meantime with IV antibi-
   tant for the clinician to recognize signs of celluli-             otics.”
   tis and treat appropriately.
                                                                    While administration of broad-spectrum antibi-
4. “I just thought all her swelling was due to water                otics and resuscitation is important in the man-
    weight gain.”                                                   agement of necrotizing fasciitis, emergent, aggres-
                                                                    sive surgical debridement is vital in order to
   Generalized edema is normal in most pregnancies                  reduce the morbidity and mortality of this rapid-
   and, though it has been excluded from the defini-                ly progressive infection.
   tion of preeclampsia, it should be a consideration
   in the context of a hypertensive pregnant female.             10. “I didn’t know she could have DVT in her
                                                                     upper extremity. I just thought her indwelling
5. “The x-ray did not show a fracture so I wasn’t                    catheter had infiltrated.”
    concerned about compartment syndrome.”
                                                                    DVT’s can occur in the upper extremity as well.
   Though compartment syndrome presents after a                     Risk factors include the presence of an indwelling
   fracture 75% of the time, it can also occur from a               catheter, inherited thrombophilia, trauma, and
   thigh contusion or excessive exercise, as in the                 cancer.


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          Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 37 of 47
ice regularly, or have contraindications to vitamin K           are hospital acquired and may mount resistance to
antagonists. These conclusions only apply for three             empirical therapy. Admit patients who appear ill or
to six months of treatment following initial treat-             present with signs and symptoms of systemic toxici-
ment. For a definitive answer to which treatment is             ty and start broad-spectrum antibiotics for resistant
better for the long-term treatment of VTE, Cochrane             gram-positive bacteria, such as MRSA (vancomycin,
concludes that larger, adequately-designed clinical             linezolid, daptomycin), and gram-negative bacteria,
studies need to be performed.                                   such as pseudomonas (carbapenems or combination
                                                                of fluoroquinolone or aminoglycoside plus either an
Cellulitis/Abscess                                              extended-spectrum penicillin or cephalosporin).
Many cases of cellulitis can be managed on an outpa-                 Depending on the severity of infection and on
tient basis with orally prescribed antibiotics and fol-         certain comorbidities, patients with skin and soft-tis-
low up. Appropriate antibiotic therapy includes semi-           sue infections, osteomyelitis, and joint infections can
synthetic penicillin, first-generation or second genera-        be managed on an outpatient basis with outpatient
tion oral cephalosporins, macrolides, or clindamycin.           parenteral antimicrobial therapy. There are numerous
In the case of S. aureus, the physician should assume           studies which have shown that outpatient parenteral
that the organism is resistant because of the high              antimicrobial therapy is safe, effective, and cost-effec-
prevalence of community-associated MRSA strains.98              tive for carefully selected patients.104-106 One study
Studies cite that 25% of MRSA strains are resistant to          randomized 200 patients to receive intravenous
clindamycin and up to 87% are resistant to erythromy-           antibiotic treatment at home versus inpatient.107
cin.99,100 Most MRSA strains are susceptible to                 Patients eligible for the study were 16 years or older,
trimethoprim-sulfamethoxazole and tetracycline.101              had clinical signs of cellulitis, and required intra-
Long-acting tetracyclines, such as minocycline and              venous antibiotics because of severity of cellulitis or
doxycycline, possess greater anti-staphylococcal prop-          failure of oral antibiotics. The two treatment groups
erties than tetracycline. A small study of 24 patients          did not differ significantly for the primary outcome;
found that long-acting tetracyclines had a success rate         patients were followed for four weeks and the recur-
of 83% for MRSA infection and a success rate of 93%             rence of cellulitis at the same site within one month
for complicated skin and skin-structure infections.102          did not differ between groups. Therefore, carefully
     When cellulitis is extensive or is accompanied by          selected patients can be safely treated at home with
signs and symptoms of systemic toxicity (fever or               intravenous antibiotics for cellulitis. Patients selected
hypothermia, tachycardia [HR greater than 100                   should meet certain criteria, such as having an infec-
beats/min], or hypotension [systolic blood pressure             tion that would require treatment beyond the expect-
less than 90 mmHg or 20 mmHg below baseline]),                  ed hospitalization, no other need for hospitalization,
hospitalization should be strongly considered.                  and no equally safe and effective oral antibiotic thera-
Patients who present with severe infection or with              py available for treatment.
progression of infection despite empirical antibiotic                In the treatment of abscesses, it is essential
therapy should be treated more aggressively.                    that treatment include incision and drainage, as
Antibiotic choice should be based on the results of             antibiotic treatment alone will result in a high rate
gram stain, culture, and drug susceptibility analysis.          of treatment failure. Debridement of necrotic tissue
In the case of S. aureus, it should be assumed to be a          is also required in diabetic patients who present
community-acquired MRSA strain and initial antibi-              with infected wounds with retained purulence or
otics should have an agent effective against MRSA,              advancing infection, despite optimal antibiotic
such as vancomycin, linezolid, or daptomycin.103 In             therapy.108
the case of S. pyogenes, 99 to 100% of strains are sus-
ceptible to clindamycin and penicillin.                         Necrotizing Fasciitis
     Immunocompromised patients presenting with                 Patients presenting with signs of necrotizing fasciitis
skin and soft tissue infections may present a diag-             require immediate surgical consultation and emer-
nostic challenge because infection can be caused by a           gent surgical debridement. A study by Wong et al
more diverse group of pathogens not normally con-               showed that patient outcome was adversely affected
sidered. These infections are often systemic and the            when there was a delay in surgery of more than 24
degree of infection and type of immune deficiency               hours, as well as by other factors such as advanced
may attenuate the clinical findings. Many infections            age and two or more comorbidities.109 This study was


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          Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 38 of 47


      Cost Effective Strategies In Patients With Extremity Swelling

1. Limit the use of blood cultures.                                extremity may show such signs as gas within the
    Multiple studies suggest that blood cultures do                involved muscle and surrounding soft tissue.
    not significantly alter treatment or aid in diagnos-
    ing the microbial organism in acute adult celluli-             Risk Management Caveat: While x-rays have their
    tis in normal immunocompetent adults. They are                 usefulness, it should not be relied on to rule out
    also not helpful in simple abscesses.                          all causes of a swollen extremity, even in the case
                                                                   of trauma. Compartment syndrome is a limb-
   Risk Management Caveat: There are instances                     threatening condition which should be consid-
   where blood cultures would be helpful, such as                  ered and may occur when there is no fracture
   when a patient presents with a severe infection or              present.
   with a progressing infection despite empirical
   antibiotic therapy. Treatment for these patients             4. Administer the appropriate antibiotics.
   should be more aggressive and should be based                    When deciding on antibiotics for treatment of cel-
   upon results of the appropriate gram stain, cul-                 lulitis, assume that, in the case of S. aureus, there
   ture, and drug susceptibility. Blood cultures                    is resistance because of the high prevalence of
   should be reserved for patients with severe infec-               community-associated MRSA strains. Studies cite
   tions presenting with fever or hypothermia,                      that 25% of MRSA strains are resistant to clin-
   tachycardia [HR greater than 100 beats/min],                     damycin and up to 87% are resistant to erythro-
   hypotension [systolic blood pressure less than 90                mycin. Most MRSA strains are susceptible to
   mmHG or 20 mmHg below baseline], diffuse cel-                    trimethoprim-sulfamethoxazole and tetracycline.
   lulitis, trauma, water contact, animal, insect or                Long-acting tetracyclines, such as minocycline
   human bites, who do not respond to initial antibi-               and doxycycline, possess greater anti-staphylo-
   otics, or who are immunocompromised.                             coccal properties than tetracycline.

2. Use D-dimer levels in combination with pretest                  Risk Management Caveat: Do not assume that any
    clinical probability for the evaluation of deep                patient has appropriate antibiotic coverage and
    venous thrombosis.                                             that they will do well. Always schedule follow
    The use of D-dimer levels in combination with                  up for a patient to reassess the cellulitis and the
    the pretest clinical probability of deep venous                response to prescribed antibiotics. Patients with-
    thrombosis appears to be an effective strategy                 out improvement or worsening of their infection
    when deciding which patients with a swollen                    will need admission.
    extremity need a Doppler ultrasound for evalua-
    tion of DVT. The overall consensus is that a                5. Low molecular-weight heparin is easier and
    patient with a low pretest clinical probability and             more effective than unfractionated heparin for
    a negative D-dimer does not need further testing.               the treatment of DVT.
                                                                    Low molecular weight heparin (LMWH) is more
   Risk Management Caveat: This may not hold true                   effective than unfractionated heparin (UFH) for
   in certain subpopulations, such as the elderly. It               the initial treatment of venous thromboembolism
   has been found that D-dimer levels increase with                 (VTE). LMWH significantly reduced the occur-
   age. Also, in the event of a distal (calf) DVT,                  rence of major hemorrhage during the initial
   Doppler ultrasound has a lower, but acceptable,                  treatment and reduced overall mortality at fol-
   sensitivity and specificity for diagnosing distal                low-up. Dosing is simple and there is no need to
   DVT while studies show that the D-dimer has no                   check PTT.
   utility in diagnosing distal DVT.
                                                                   Risk Management Caveat: LMWH has not been
3. X-rays are a logical first test for a swollen                   studied for long term treatment of DVT. The
    extremity.                                                     results of studies advocating the use of LMWH
    X-rays can be helpful in diagnosing many                       apply for three to six months of treatment
    patients who present with a painful, swollen                   following initial treatment. Vitamin K antago-
    extremity, especially if there is a history of trau-           nists are still the treatment of choice for long-
    ma; they may also have utility in the nontraumat-              term treatment. Also, keep in mind that
    ic state. In the case of trauma, an x-ray will diag-           patients with diminished renal function will
    nose a fracture, when present. It may have some                accumulate LMWH which can increase the risk
    use in non-traumatic situations as well, such as               of bleeding.
    necrotizing fasciitis. When necrotizing fasciitis is
    in question, an x-ray study of the involved


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          Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 39 of 47
a retrospective review of 89 patients. They found               of Chest Surgeons recommends 6 to 12 weeks of anti-
that the cumulative survival rate between admission             coagulation in symptomatic patients.123 In contrast, a
and time to operation was 93.2% at 24 hours and                 study by Gottlieb et al recommends withholding
decreased to 75% at 48 hours. Other studies support             anticoagulation in symptomatic patients who have
the absolute need for immediate surgical manage-                thigh ultrasounds negative for DVT and following
ment.110 Another retrospective review of 68 patients            up with sonograms to evaluate propagation of calf
found that those patients who underwent aggressive              vein thrombus into the thigh for those patients with
surgical debridement performed at the initial recog-            persistent symptoms.124 In summary, studies show
nition of the disease process had a mortality rate of           lower but acceptable sensitivity and specificity of
4.2 % while patients with a delay in, or inadequate             color Doppler in diagnosing distal DVT. D-dimer
therapy, had a mortality rate of 38%.111 The use of             has questionable utility in diagnosing distal DVT,
broad-spectrum antibiotics without immediate surgi-             and further studies are needed to evaluate the use-
cal debridement may mask the severity of the under-             fulness of anticoagulation therapy with distal DVT.
lying infection and may alter the clinical presentation
thus making an early diagnosis difficult. Therefore it          Outpatient Management Of DVT With Low
is vital to recognize and promptly diagnose necrotiz-           Molecular Weight Heparin
ing fasciitis, administer broad-spectrum antibiotics,           It has been more than ten years since low molecular
and initiate emergent aggressive surgical debride-              weight heparin (LMWH) has been investigated as a
ment in order to reduce the morbidity and mortality             home treatment option for venous thromboembolism.
of this rapidly progressive infection.112,113                   Advantages to outpatient LMWH treatment com-
                                                                pared to in-patient unfractionated heparin treatment
                                                                include no laboratory monitoring with consequent
Controversies/Cutting Edge
                                                                cost savings and no increase in adverse events such as
Management Of Suspected DVT Below The Knee                      major bleeding, recurrent deep venous thrombosis,
With A Negative Ultrasound                                      pulmonary embolism, and death.125 Numerous stud-
Doppler venous ultrasound has become the most                   ies and a Cochrane review of home versus in-patient
widely used diagnostic modality for the work-up of              treatment of deep vein thrombosis found that home
a DVT. Ultrasonography of the distal or calf veins is           management is effective and no more liable to compli-
less accurate and is more difficult to perform than             cations than hospital treatment.126-128 A Cochrane
evaluation of the proximal veins.114,115 However,               review of once versus twice daily LMWH in the treat-
numerous studies have shown that the sensitivity                ment of venous thromboembolism found that once
and specificity of color Doppler in isolated calf veins         daily treatment with LMWH is as effective and safe as
is at least 88% and 86%, respectively.116-120 While this        the twice daily treatment. However, there was a pos-
is less than the sensitivity (95%) and specificity (96%)        sibility that patients receiving once daily LMWH were
for a proximal venous thrombosis, many authors                  at a higher risk of recurrent venous thromboembolism
consider the color Doppler ultrasonography for                  and the decision to treat with a once daily regimen
detection of distal DVT to be highly accurate and               would have to be balanced with convenience of treat-
reliable. A study by Jennersjö et al found that D-              ment and the potential for lower efficacy.129 Therefore,
dimer levels were not as predictable for diagnosing             outpatient treatment of venous thromboembolism
distal DVT.121 The study found that 59% of patients             with LMWH is a safe and cost-effective option.
being evaluated for DVT had distal DVT. The sensi-
tivity of D-dimer in distal DVT was only 65% com-               Tissue Oxygen Saturation For Diagnosis Of
pared to 96% for proximal DVT. The negative pre-                Necrotizing Fasciitis
dictive values were 84% for distal DVT and 99% for              There is one study that supports the utility of tissue
proximal DVT. Therefore, D-dimer levels cannot be               oxygen saturation monitoring in diagnosing necro-
used together with the pretest clinical probability to          tizing fasciitis of the lower extremities.130 This study
reliably rule in or rule out distal DVT. Proximal               was done in an emergency department using near-
extension of isolated calf thrombi have been reported           infrared spectroscopy to measure tissue oxygen satu-
to occur in 20% of cases and usually within one week            ration over the middle third of possible involved
of presentation.122 There are some controversies as to          areas. They found that the test had a sensitivity of
the treatment of distal DVT. The American Society               100%, a specificity of 97%, and accuracy of 97% for a


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          Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 40 of 47
cutoff value of a tissue oxygen saturation of less than        efit of hyperbaric oxygen therapy in patients with
70%. This study presented a rapid, reliable, and non-          necrotizing fasciitis still needs further investigation.
invasive method of assessing lower extremities at              There are no prospective, randomized studies and the
risk of necrotizing fasciitis; however, validation of          studies that have been done comparing morbidity and
the finding needs to be done before it can be recom-           mortality with hyperbaric oxygen therapy are smaller
mended in general clinical practice.                           studies with varying treatment protocols. Hyperbaric
                                                               oxygen therapy may have a role as an adjuvant to
Hyperbaric Oxygen For Treatment Of Necrotizing                 standard treatment for necrotizing fasciitis, but large,
Fasciitis                                                      randomized, controlled studies are needed.
Necrotizing fasciitis is a life-threatening bacterial
infection of the fascia which progresses rapidly to            Conclusion
involve the skin and subcutaneous tissue. The mortal-
ity rate for necrotizing fasciitis is 20 to 40%131,132         Let us return to our initial patient who traveled from
Hyperbaric oxygen therapy involves the intermittent            Australia and presented to the ED with the com-
inhalation of 100% oxygen at increased pressure in             plaint of a progressively painful and swollen right
either monoplace or multiplace chambers. There has             lower leg. After evaluation of the patient, diagnoses
been some promise using hyperbaric oxygen therapy              of DVT, DVT plus PE, and cellulitis were considered.
as an adjuvant to standard treatment regimens but the          The modified Well’s criteria for predicting pretest
results of studies have been mixed.133 Hyperbaric oxy-         probability of DVT was applied and a DVT was con-
gen therapy acts by decreasing tissue edema and                sidered likely. A lower extremity Doppler ultra-
swelling through vasoconstriction; it also leads to            sound was initially considered but because of the
increased tissue oxygen tension which is critical for          complaint of chest discomfort, PE was suspected.
local defense mechanisms, particularly the efficacy of         Consequently, the order for a lower extremity
antibiotics.134,135 A study by Riseman et al compared a        Doppler ultrasound was cancelled and a CT
treatment group with a control group, matching                 angiogram of her chest was obtained instead. A diag-
groups for age, sex, and bacterial flora. Patients             nosis of DVT with PE was made and the patient was
underwent three sessions of hyperbaric oxygen treat-           treated with low molecular weight heparin. She
ments in the first 24 hours which was then continued           made an uneventful recovery.
twice daily until the infection was controlled. They                As certain causes of a swollen extremity can be a
found that, by adding hyperbaric oxygen therapy to             source of significant morbidity and mortality for the
the standard surgical management, patients required            patient, it is crucial for an emergency physician to
less debridement and mortality decreased from 66%              consider all of the life-threatening causes of a swollen
to 23%.136 A study by Korhonen also showed a benefit           extremity. For example, consider compartment syn-
in patients with Fournier’s gangrene where the mor-            drome when the patient presents with any of the 5
tality rate was 9% with the use of hyperbaric oxy-             P’s (pain out of proportion, paresthesia, paralysis,
gen.137 However, a retrospective review of 42 patients         pallor, and pulselessness), especially after trauma,
with Fournier’s gangrene found an increase in mortal-          and perform a rapid compartment pressure measure-
ity from 12.5% in the non-hyperbaric oxygen treat-             ment. Consider necrotizing fasciitis in a patient who
ment group to 26.9% in the hyperbaric oxygen                   has signs of cellulitis but also has edema out of pro-
group.138 These results may have been flawed in that           portion to skin erythema, skin vesicles, and crepitus.
hyperbaric oxygen treatment may have been reserved             These patients need immediate broad spectrum
for the more ill patients. Another study by Brown et           antibiotics and urgent surgical consultation for imme-
al found no difference in mortality, need for debride-         diate debridement. DVT is a consideration for
ment, or length of hospital stay in patients treated           patients presenting with pain and swelling to an
with hyperbaric oxygen compared to controls.139 The            extremity. Risk factors should be assessed and D-
results of this study may have been influenced by              dimer levels in combination with the pretest clinical
patients in the hyperbaric treatment group having              probability of deep venous thrombosis using the
more advanced sepsis and receiving less than four              modified Well’s criteria should be used as an effective
hyperbaric oxygen treatments, which is in contrast to          strategy in deciding whether a Doppler ultrasound of
the much more intensive treatments received by                 the extremity is needed.
patients in the Riseman et al study. The role and ben-              Further studies are needed to address issues


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              Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 41 of 47
such as the long-term prognosis for untreated                                      have any prognostic value following trauma? Injury
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trol studies are needed to further explore the role of                             (Retrospective observational study, 225 control patients, 89
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             Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 45 of 47
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     cacy, safety, and tolerability of divalproex sodium and olanza-                 d. Decreased sensation
     pine in the treatment of bipolar disorder. J Clin Psychiatry                    e. Tense swelling
     2002;63(12):1148-1155. (Double-blind, randomized study, 120
     patients)
171. Haria M, Plosker GL, Markham A. Felodipine/metoprolol: a                  52. D-dimers, when positive, make the diagnosis of DVT
     review of the fixed dose controlled release formulation in the                since they are specific for thrombotic conditions.
     management of essential hypertension. Drugs 2000;59(1):141-                     a. True
     157. (Review)                                                                   b. False
172. Kloner RA, Weinberger M, Pool JL, et al. Comparative effects
     of candasartan cilexetil and amlodipine in patients with mild             53. For patients with antithrombin III deficiency, the
     systemic hypertension. Comparison of Candesartan and                           peak age of onset for developing a VTE is?
     Amlodipine for Safety, Tolerability, and Efficacy (CASTLE)                      a. 15-30
     Study Investigators. Am J Cardiol 2001;87(6):727-731. (Double-                  b. 30-40
     blind, randomized study, 251 patients)                                          c. 40-50
173. Goldberg M, Gehr M. Effects of alpha-2 agonists on renal                        d. 50-60
     function in hypertensive humans. J Cardiovas Pharmacol                          e. 60-70
     1985;7(suppl 8:S34-S377). (Review)
174. Whelton A. Renal and related cardiovascular effects of con-               54. Which medical condition is not a risk factor for
     ventional and COX-2-specific NSAIDS and non-NSAID anal-                       venous thromboembolism in an ambulatory person?
     gesics. Am J Ther 2000;7(2):63-74. (Review)                                    a. Asthma
175. Whelton A, White WB, Bello AE, et al. Effects of celecoxib and                 b. Nephrotic syndrome
     rofecoxib on blood pressure and edema in patients >or = 65                     c. Myocardial infarction
     years of age with systemic hypertension and osteoarthritis.
                                                                                    d. CHF
     Am J Cardiol 2002;90(9):959-963. (Double-blind, randomized
     study, 1092 patients)
                                                                                    e. IBD
176. Niemeyer NV, Janney LM. Thiazolidinedione-induced edema.                  55. The presence of peripheral edema in pregnant
     Pharmacotherapy 2002;22(7):924-929. (Review)                                  patients only occurs in the setting of preeclampsia.
177. Tang WH, Francis GS, Hoogwerf BJ, et al. Fluid retention after                 a. True
     initiation of thiazolidinedione therapy in diabetic patients                   b. False
     with established chronic heart failure. J Am Coll Cardiol
     2003;41(8):1394-1398. (Retrospective, 111) patients)                      56. Medications that may cause bilateral leg swelling
178. Azzoli CG, Miller VA, Ng KK. Gemcitabine-induced peripher-                    include all of the following EXCEPT:
     al edema: report on 15 cases and review of the literature. Am J                 a. Calcium channel blockers
     Clin Oncol 2003;26(3):247-251. (Review)                                         b. Thiazolidinediones
179. Hagiwara H, Sunada Y. Mechanism of taxane neurotoxicity.                        c. NSAIDS
     Breast Cancer 2004;11(1):82-85. (Review)
180. Refuerzo JS, Hechtman JL, Redman ME, et al. Venous throm-
                                                                                     d. Methyldopa
     boembolism during pregnancy. Clinical suspicion warrants                        e. Levothyroxine
     evaluation. J Reprod Med 2003;48(10):767-770. (Retrospective,             57. The risk of venous thromboembolism is greatest in
     70 patients)                                                                   which phase of pregnancy?
181. Phillips OP. Venous thromboembolism in the pregnant                             a. 1st trimester
     woman. J Reprod Med 2003;48 (11 suppl):921-929. (Review)
                                                                                     b. 2nd trimester
182. Ferrari E, Chevallier T, Chapelier A, et al. Travel as a risk fac-
     tor for venous thromboembolic disease: a case-control study.                    c. 3rd trimester
     Chest 1999; 115(2):440-444. (Case control, 160 patients)                        d. Post-partum
183. Kim V, Spandorfer J. Epidemiology of venous thromboembol-                 58. An elderly person living alone was found lethargic
     ic disease. Emerg Med Clin North Am 2001;19(4):839-59.                        on the kitchen floor and presents with a bruised
     (Review)
                                                                                   tense thigh. Intracompartmental pressure measure-
184. Solem CA, Loftus EV, Tremaine WJ. Et al. Venous thromboem-
     bolism in inflammatory bowel disease. Am J Gastroenterol                      ments should be taken in this patient.
     2004;99(1):97-101. (Retrospective, 98 patients)                                 a. True
185. Rheingans RD, Haddix AC, Messonnier ML. et al. Willingness                      b. False
     to pay for prevention and treatment of lymphatic filariasis in            59. A 50-year-old male complains of right calf pain and
     Leogane, Haiti. Filaria J 2004;3(1):2. (Review)
                                                                                   swelling. You perform the Thompson-Doherty test
                                                                                   by squeezing his calf in the prone position to diag-
                                                                                   nose which condition?
Physician CME Questions                                                              a. Baker’s cyst
                                                                                     b. DVT
49. Distension of the veins of the upper extremity is
                                                                                     c. Tendon rupture
    rarely seen with SVC syndrome.
                                                                                     d. Lymphedema
      a. True
                                                                                     e. Pseudoaneurysm
      b. False
                                                                               60. Which is the most common cause of thrombophilia?
50. Which fracture has the highest association with
                                                                                    a. Protein C deficiency
    developing compartment syndrome?
                                                                                    b. Prothrombin mutation
     a. Humerus
                                                                                    c. Factor V Leiden
     b. Femur
                                                                                    d. Pregnancy
     c. Supracondylar
                                                                                    e. Hyperhomocysteinemia
     d. Tibial
     e. Radius                                                                 61. A negative venous Doppler is very reliable for ruling
                                                                                   out DVT in all patients.
51. Which of the following is a late sign of compartment
                                                                                     a. True
    syndrome?
                                                                                     b. False
     a. Erythema
     b. Pulselessness


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                  Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 46 of 47
62. According to the Infectious Disease Society of                                                     Committees of the American Heart                  Cardiac Care Committee and
    America, you should obtain blood and wound cul-                                                    Association and representatives                   Subcommittees, American Heart
                                                                                                       from the resuscitation councils of                Association. Part IX. Ensuring effec-
    tures in all of the following scenarios except:                                                    ILCOR: How to Develop Evidence-                   tiveness of community-wide emer-
      a. Immunocomprised patients                                                                      Based Guidelines for Emergency                    gency cardiac care. JAMA
      b. Diffuse cellulitis                                                                            Cardiac Care: Quality of Evidence                 1992;268(16):2289-2295.
      c. No response to initial antibiotics                                                            and Classes of Recommendations;
                                                                                                       also: Anonymous. Guidelines for
      d. History of an animal bite                                                                     cardiopulmonary resuscitation and
      e. Presence of a simple abscess                                                                  emergency cardiac care. Emergency
63. Early clinical clues for diagnosing necrotizing infec-
     tions include all EXCEPT:
       a. Crepitus                                                                                     Physician CME Information
       b. Skin vesicles
       c. Edema out of proportion to erythema                                                          Credit Designation: The Mount Sinai School of Medicine designates this
                                                                                                         educational activity for a maximum of 48 AMA PRA Category 1
       d. Discharge                                                                                      Credit(s)TM per year. Physicians should only claim credit commensurate
       e. C & D                                                                                          with the extent of their participation in the activity.
64. About three fourths of patients who present with                                                   Credit may be obtained by reading each issue and completing the printed
                                                                                                         post-tests administered in December and June or online single-issue
    suspected DVT have nonthrombotic causes of leg                                                       post-tests administered at EBMedicine.net.
    pain.
                                                                                                       Target Audience: This enduring material is designed for emergency medi-
     a. True                                                                                             cine physicians.
     b. False                                                                                          Needs Assessment: The need for this educational activity was determined
                                                                                                         by a survey of medical staff, including the editorial board of this publica-
                                                                                                         tion; review of morbidity and mortality data from the CDC, AHA, NCHS,
                                                                                                         and ACEP; and evaluation of prior activities for emergency physicians.
                                                                                                       Date of Original Release: This issue of Emergency Medicine Practice was
                 Coming in Future Issues:                                                                published October 1, 2006. This activity is eligible for CME credit through
                                                                                                         October 1, 2009. The latest review of this material was September 23,
                      Thoracic Imaging                                                                   2006.
            Acutely Decompensated Heart Failure                                                        Discussion of Investigational Information: As part of the newsletter, fac-
                     Pediatric Toxicology                                                                ulty may be presenting investigational information about pharmaceutical
                                                                                                         products that is outside Food and Drug Administration approved labeling.
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                                                                                                         uing medical education and is not intended to promote off-label use of
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Each action in the clinical pathways section of Emergency Medicine                                       ceutical product.
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                                                                                                         ensure objectivity, balance, independence, transparency, and scientific
Class I                                         Class III                                                rigor in all CME-sponsored educational activities. All faculty participating
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• Definitely useful                             • Possibly useful                                        disclose to the audience any relevant financial relationships and to assist
• Proven in both efficacy and                   • Considered optional or alternative                     in resolving any conflict of interest that may arise from the relationship.
  effectiveness                                   treatments                                             Presenters must also make a meaningful disclosure to the audience of
                                                                                                         their discussions of unlabeled or unapproved drugs or devices.
Level of Evidence:                              Level of Evidence:                                        In compliance with all ACCME Essentials, Standards, and Guidelines, all
• One or more large prospective                 • Generally lower or intermediate                         faculty for this CME activity were asked to complete a full disclosure
  studies are present (with rare                  levels of evidence                                      statement. The information received is as follows: Dr. Hlibczuk, Dr.
  exceptions)                                   • Case series, animal studies, con-                       Waseem, Dr. Nguyen, Dr. Ellie, Dr. Gene, and Dr. Rohde report no signif-
• High-quality meta-analyses                      sensus panels                                           icant financial interest or other relationship with the manufacturer(s) of
• Study results consistently positive           • Occasionally positive results                           any commercial product(s) discussed in this educational presentation.
  and compelling
                                                                                                          For further information, please see The Mount Sinai School of Medicine
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• Safe, acceptable                              • No recommendations until further                     ACEP Accreditation: Emergency Medicine Practice is approved by the
• Probably useful                               research                                                American College of Emergency Physicians for 48 hours of ACEP
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Level of Evidence:                              Level of Evidence:                                     AAFP Accreditation: Emergency Medicine Practice has been reviewed
• Generally higher levels of evidence           • Evidence not available                                and is acceptable for up to 48 Prescribed credits per year by the
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                                                                                                        48 Category 2B credit hours per year by the American Osteopathic
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    Case 1:16-cv-02062-EGS Document 53-1 Filed 06/30/20 Page 47 of 47




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                               Cases to Date
   Depositions:

   • THOMAS D. PRITCHARD AND JUDY PRITCHARD, PLAINTIFFS
     VS. JACKSON HMA, LLC D/B/A CENTRAL MISSISSPPI MEDICAL
     CENTER AKA COMMUNITY HEALTH SYSTEMS PROFESSIONAL
     SERCIVES CORP; DAVID DEAN, D.O.; AND JOHN DOES I-V,
     DEFENDANTS, CIRCUIT COURT OF HINDS COUNTY, MISSISSIPPI,
     Expert Witness, 2017

   • JENNIFER BARNETT and JARRED BARNETT, PLAINTIFFS V.
     CAREY THURMAN, EMT-P, CITY OF ATLANTA FIRE RESCUE,
     RICHISA L. JOHNSON, M.D. n/k/a RICHISA L. S. HAMILTON, M.D.,
     AFOLAKE MOBOLAJI, M.D., NEETU SINGH, M.D., GEORGE
     BROWN, III, R.N., JASON R. KERR, M.D., ATLANTA MEDICAL
     CENTER, INC., RADISPHERE NATIONAL RADIOLOGY GROUP,
     INC. n/k/a IMPOWER HEALTH, INC., and JOHN/JANE DOE(S) 1-3,
     CIRCUIT COURT OF HINDS COUNTY, MISSISSIPPI, 2016

   • Jordan Bryant Robinson, Plaintiff vs. Richisa L. S. Hamilton, M.D.,
     Wellstar Atlanta Medical Center, Inc., John Doe Inc, and John Doe LLC,
     State Court of Cobb County State of Georgia, 2019




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